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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                 MDL No. 2323
INJURY LITIGATION
                                           Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,                 Civ. Action No. 14-00029-AB
          Plaintiffs,

               v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                       MEMORANDUM OF LAW IN SUPPORT OF
             MOTION OF PROPOSED CLASS COUNSEL FOR AN ORDER:
         (1) GRANTING PRELIMINARY APPROVAL OF THE CLASS ACTION
                            SETTLEMENT AGREEMENT;
 (2) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS AND SUBCLASSES;
        (3) APPOINTING CO-LEAD CLASS COUNSEL, CLASS COUNSEL AND
                               SUBCLASS COUNSEL;
              (4) APPROVING THE DISSEMINATION OF CLASS NOTICE;
                    (5) SCHEDULING A FAIRNESS HEARING; AND
    (6) STAYING MATTERS AS TO THE RELEASED PARTIES AND ENJOINING
           PROPOSED SETTLEMENT CLASS MEMBERS FROM PURSUING
                               RELATED LAWSUITS
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                                       MEMORANDUM OF LAW

        Having heard and appreciated the Court’s concerns expressed in the Memorandum

Opinion of January 14, 2014, D.E. # 5657, and the Order of the same date, D.E. # 5658, and after

working extensively with the Court-appointed Special Master, Perry Golkin, Plaintiffs, Kevin

Turner and Shawn Wooden (“Plaintiffs”), through their proposed Class Counsel,1 and

Defendants National Football League and NFL Properties LLC (collectively, “the NFL Parties”

and, together with Plaintiffs, the “Settling Parties”), through their counsel, have negotiated and

agreed to a new Class Action Settlement (or “Settlement”)2 that will resolve all claims against

the NFL Parties and other Released Parties in the In re: National Football League Players’

Concussion Injury Litigation, MDL 2323, and Related Lawsuits.3 Indeed, over the last six

months, the Plaintiffs and the NFL Parties have benefited from the advice, wisdom and financial

expertise of Special Master Golkin.             Through this process, the Settling Parties became so

confident in the prior actuarial assumptions and projections that an agreement to uncap the

amount of the Monetary Award Fund was reached in order to address the Court’s concern that all

eligible Class Members over the 65-year lifespan of the deal would be compensated at the

significant award levels for which the deal provided.                 Staying true to the initial deal, the

Plaintiffs insisted upon maintaining the same significant award levels and maintaining the NFL


1
 The proposed Class Counsel are Christopher A. Seeger, Sol Weiss, Arnold Levin, Dianne M. Nast, Steven C.
Marks, and Gene Locks. Additionally, the proposed Co-Lead Class Counsel are Christopher A. Seeger and Sol
Weiss. Arnold Levin is proposed as Subclass Counsel for Subclass 1 and Dianne M. Nast is proposed as Subclass
Counsel for Subclass 2.
2
 Riddell, Inc., Riddell Sports Group Inc., All American Sports Corporation, Easton-Bell Sports, Inc., EB Sports
Corp., Easton-Bell Sports, LLC, and RBG Holdings Corp. are not parties to the proposed Settlement.
3
  Except where otherwise noted, the capitalized terms in this Memorandum of Law are taken from, and have the
same meaning as those in, the Settlement Agreement, submitted herewith as Exhibit B to the Motion which this
Memorandum of Law supports.
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Parties’ obligation to pay for the costs and expenses of claims administration. For their part, the

NFL Parties insisted upon including language in the new Settlement Agreement specifically

describing anti-fraud measures to be included in the administration process.

       The clear benefits of an uncapped class action settlement fund have been recognized by

the United States Court of Appeals for the Third Circuit. In re Prudential Ins. Co. Am. Sales

Practices Litig., 148 F.3d 283, 328 (3d Cir. 1998). The Honorable Anthony J. Scirica noted that

the fact that “the potential class recovery is uncapped … weighs strongly in favor of the

settlement.” Id. Judge Scirica also recognized the value in the defendant agreeing to bear all

administrative costs and counsel fees.     Id. at 329 (“By agreeing to cover these expenses,

Prudential has ensured that the administrative and legal costs of the settlement will not diminish

the class recovery.”). Similarly, here, the uncapped fund, in combination with the NFL Parties’

agreement to pay for Class Notice, certain administrative costs and class attorneys’ fees and

reasonable costs, should quell any concerns the Court has about the fairness, reasonableness and

adequacy of the proffered settlement.

       This Memorandum of Law is submitted in support of the Motion of Proposed Class

Counsel for an Order:     (1) granting Preliminary Approval of the Class Action Settlement

Agreement; (2) conditionally certifying a Settlement Class and Subclasses; (3) appointing Co-

Lead Class Counsel, Class Counsel, and Subclass Counsel; (4) approving dissemination of Class

Notice; (5) scheduling a Fairness Hearing; and (6) staying matters as to the Released Parties and

enjoining proposed Settlement Class Members from pursuing Related Lawsuits (“Motion for

Preliminary Approval and Class Certification” or “Motion”), brought pursuant to Federal Rules




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of Civil Procedure 23(a), 23(b)(3) and 23(e). This Motion is unopposed by the NFL Parties.4

For the reasons set forth below, Plaintiffs respectfully submit that this Class Action Settlement is

within the “range of possible approval” under FED. R. CIV. P. 23(e) and request that the Court

enter the proposed Preliminary Approval and Class Certification Order finding that:

preliminarily, the Settlement is fair, reasonable, and adequate; the requirements for conditionally

certifying the Settlement Class and Subclasses, for settlement purposes only, under

Rules 23(a)(1)-(4) and 23(b)(3), have been met; and Settlement Class Members should be

notified of the terms of the Settlement and of their rights in connection therewith.

         Accordingly, Plaintiffs request that the Court: (1) approve the Long-Form Notice and

Summary Notice submitted herewith; (2) approve the Class Notice Plan; (3) establish dates for

the mailing and publication of Class Notice, the submission of opt out notices and objections to

the Settlement, and other relevant deadlines; and (4) schedule a Fairness Hearing to determine

whether the Settlement should be given final approval. In addition, Plaintiffs request that the

instant litigation and all other Related Lawsuits against the Released Parties be stayed pending

final approval of the Settlement, and that all Settlement Class Members be enjoined from

continuing or commencing litigation against Released Parties, other than for claims for workers’

compensation and claims alleging entitlement to NFL CBA Medical and Disability Benefits, in

any other forum based on, relating to, or arising out of the claims and causes of action, or the


4
  The parties reserve all of their rights, including the right to propose or oppose class certification of a litigation class
or class certification of a settlement class in the future, and the right to raise or to object to any argument presented
here or not raised herein concerning any current or future litigated issue, should the Settlement Agreement be
terminated or not consummated for any reason, or should any portion of the litigation proceed. Section C of the
Argument section of this Memorandum discusses some of the anticipated arguments of the respective parties absent
a Settlement at this juncture. The inclusion herein of such anticipated arguments is not, and shall not be deemed, an
acquiescence, admission, or agreement by any party as to the viability or strength of the opposing party’s argument,
should the litigation continue.


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facts and circumstances at issue, in the Class Action Complaint, Related Lawsuits and/or the

Released Claims, unless and until the Settlement Class Member is excluded from the Settlement

Class, the Court denies approval of the Class Action Settlement, or the Settlement Agreement is

otherwise terminated.

I.     INTRODUCTION

       In July 2011, the first lawsuit was filed by Retired NFL Football Players against the NFL

Parties related to the NFL Parties’ alleged actions (and inactions) with regard to alleged

concussion-related injuries. Since then, more than 5,000 former players have filed substantially

similar lawsuits. This Class Action Settlement represents the proposed resolution of these and

thousands of other Retired NFL Football Players’ claims.

       The Class Action Settlement now before the Court for preliminary approval provides that

the NFL Parties will make all payments over a period of years to create a:

              Baseline Assessment Program (“BAP”) Fund that will offer eligible Retired NFL

               Football Players one baseline neuropsychological and neurological examination to

               determine the existence and extent of any cognitive deficits, and in the event

               retired players are found to suffer from moderate cognitive impairment (“Level 1

               Neurocognitive Impairment”) (as defined in Exhibit 1 to the Settlement

               Agreement), certain supplemental benefits in the form of specified medical

               treatment and/or evaluation, including, as needed, counseling and pharmaceutical

               coverage (up to $75 million will be used to fund the BAP, inclusive of the costs to

               administer it);

              Monetary Award Fund that will provide cash for 65 years to Retired NFL

               Football Players, their representatives, and their families for Qualifying


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               Diagnoses (as defined in Exhibit 1 to the Settlement Agreement) of Level 1.5

               Neurocognitive     Impairment   (early    Dementia),   Level   2   Neurocognitive

               Impairment (moderate Dementia), Amyotrophic Lateral Sclerosis (“ALS”),

               Alzheimer’s Disease, Parkinson’s Disease, and/or Death with chronic traumatic

               encephalopathy (“CTE”), without requiring any proof of causation (while

               uncapped now, the Settling Parties remain confident in the projected value of this

               Fund at $675 million); and

              Education Fund that will fund education programs promoting safety and injury

               prevention in football players, including youth football players, and the education

               of Retired NFL Football Players regarding the NFL’s medical and disability

               benefits programs and initiatives ($10 million will be used exclusively to fund the

               Education Fund).

       Additionally, the NFL Parties will pay the cost of Class Notice and the compensation for

a Special Master to oversee aspects of the Settlement.

       The Settlement is for the benefit of a proposed nationwide Settlement Class, consisting of

three types of claimants, each of which is ascertainable based on objective criteria: (1) Retired

NFL Football Players; (2) authorized representatives, ordered by a court or other official of

competent jurisdiction, of deceased or legally incapacitated or incompetent Retired NFL Football

Players (“Representative Claimants”); and (3) close family members of Retired NFL Football

Players or any other persons who properly under applicable state law assert the right to sue by

virtue of their relationship with the Retired NFL Football Player (“Derivative Claimants”). The

Settlement Class is composed of two Subclasses: (1) Retired NFL Football Players who were not

diagnosed with a Qualifying Diagnosis prior to the date of the Preliminary Approval and Class

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Certification Order (and their Representative Claimants and Derivative Claimants); and

(2) Retired NFL Football Players who were diagnosed with a Qualifying Diagnosis prior to the

date of the Preliminary Approval and Class Certification Order (and their Representative

Claimants and Derivative Claimants) and the Representative Claimants of deceased Retired NFL

Football Players who were diagnosed with a Qualifying Diagnosis prior to death or who died

prior to the date of the Preliminary Approval and Class Certification Order and who received a

post-mortem diagnosis of CTE.

II.    FACTUAL BACKGROUND

       A.      Plaintiffs’ Claims

       Plaintiffs, Kevin Turner and Shawn Wooden, are Retired NFL Football Players who

allegedly suffered concussive and sub-concussive head injuries while playing football in the

NFL. Mr. Turner played eight (8) seasons in the NFL for the New England Patriots and the

Philadelphia Eagles.   Mr. Wooden played in the NFL for nine (9) seasons for the Miami

Dolphins and the Chicago Bears. The Class Action Complaint (the “Complaint”), filed on

January 6, 2014, alleges generally that the NFL Parties breached their duties to Plaintiffs by

failing to take reasonable actions to protect players from the chronic risks created by concussive

and sub-concussive head injuries and that the NFL Parties concealed those risks. Plaintiffs

contend that, for many decades, evidence has linked repetitive head injuries to long-term

neurological problems in many sports, including football. Plaintiffs further contend that the NFL

Parties, as the organizers, marketers, and the face of the most popular sport in the United States,

in which head injuries are a regular occurrence and in which players are at risk for head injuries,

were aware of the evidence and the risks associated with repetitive traumatic brain injuries, but

failed to take reasonable action to address the risks and deliberately ignored and actively


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concealed the information from Plaintiffs.             The Complaint seeks injunctive relief, medical

monitoring, and financial compensation for the long-term cognitive injuries, financial losses,

expenses, and intangible losses suffered by the Plaintiffs and proposed Class, as a result of the

NFL Parties’ alleged tortious conduct, including negligence and misrepresentations.5

        B.       Formation of the NFL Players’ Concussion Injury Multidistrict Litigation

        On July 19, 2011, seventy-three (73) former NFL players and certain of their wives filed

a complaint in the Superior Court of California against the NFL Parties and the Riddell

Defendants alleging, among other things, that the NFL Parties breached a duty to protect the

health and safety of its players by failing to warn and protect them against the long-term risks

associated with football-related concussions. See Complaint, Maxwell v. National Football

League, BC465842 (Super. Ct. Cal. July 19, 2011). Shortly thereafter, two more groups of

former NFL players filed substantially similar complaints in California state court, and a fourth

group of plaintiffs filed a substantially similar complaint in the Eastern District of Pennsylvania.

See Complaint, Pear v. National Football League, LC094453 (Super. Ct. Cal. Aug. 3, 2011);

Complaint, Easterling v. National Football League, 2:11-cv-05209 (E.D. Pa. Aug. 17, 2011);

Complaint, Barnes v. National Football League, BC468483 (Super. Ct. Cal. Aug. 26, 2011).

The NFL Parties removed the state cases to federal court on the basis of federal preemption

under the Labor Management Relations Act (“LMRA”).

        This multi-district litigation was established on January 31, 2012 when the Judicial Panel

on Multidistrict Litigation (“JPML”) transferred these four actions to the Eastern District of


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  The Class Action Complaint includes claims for medical monitoring, negligent misrepresentation, pre-1968
negligence, post-1968 negligence, negligence from 1987-1993, post-1994 negligence, negligent hiring, negligent
retention, fraudulent concealment, fraud, wrongful death and survival actions, civil conspiracy based on fraudulent
concealment, and loss of consortium.


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Pennsylvania pursuant to 28 U.S.C. § 1407.       See In re National Football League Players’

Concussion Injury Litigation, MDL 2323, 842 F. Supp.2d 1378 (J.P.M.L. 2012). The JPML

found that these cases “share factual issues arising from allegations against the NFL stemming

from injuries sustained while playing professional football, including damages resulting from the

permanent long-term effects of concussions while playing professional football in the NFL” and

that “centralization under Section 1407 in the Eastern District of Pennsylvania will serve the

convenience of the parties and witnesses and promote the just and efficient conduct of the

litigation.” Id. at 1379. At the time of argument before the JPML in January 2012, there were

sixteen potentially related actions pending against the NFL Parties. Id. at 1378. Since that time,

over 125 cases have been directly filed in the MDL or removed from Pennsylvania state court to

the MDL, and additional cases have been transferred to the MDL by the JPML. Currently, there

are 325 cases consolidated in the MDL, consisting of both individual lawsuits and class actions.

There are also several actions against Member Clubs that have been consolidated in this MDL

and that will be resolved in connection with this proposed Settlement. In addition, there are six

cases that remain pending in various state courts or other federal courts against the NFL Parties

or other Released Parties, including Member Clubs, that assert similar allegations to those

asserted in the MDL proceedings.

       C.      Proceedings in this Court

       The Court’s Case Management Order 1 set a date of April 25, 2012 for the initial

conference of this MDL. At the April 25 status conference, the Court selected Christopher A.

Seeger of Seeger Weiss LLP as Plaintiffs’ Co-Lead Counsel for the MDL proceedings, and

requested that another co-lead counsel from a Philadelphia-based firm also be selected. Docket

Entry (“D.E.”) # 64. Plaintiffs selected Sol Weiss of Anapol Schwartz as Co-Lead Counsel.


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D.E. # 72. Plaintiffs also created a Plaintiffs’ Executive Committee (“PEC”) and Steering

Committee composed of various of the counsel for plaintiffs in the cases pending before the

Court, which the Court approved. Id. The PEC includes proposed Class Counsel, Gene Locks

and Steven C. Marks, and the Steering Committee includes proposed Subclass Counsel, Arnold

Levin and Dianne M. Nast.

       The Court established a schedule for Plaintiffs to file Master Administrative Complaints

and for the NFL Parties to brief the threshold legal issue of whether Plaintiffs’ claims were

preempted by federal labor law. D.E. # 64. Plaintiffs filed a Master Administrative Long-Form

Complaint, D.E. # 83, and a Master Administrative Class Action Complaint for Medical

Monitoring, D.E. # 84, on June 7, 2012. Plaintiffs then filed an Amended Master Administrative

Long-Form Complaint, D.E. # 2642, on July 17, 2012. The NFL Parties filed motions to dismiss

Plaintiffs’ Master Administrative Complaints on preemption grounds on August 30, 2012, D.E.

## 3589, 3590, and Plaintiffs opposed, D.E. ## 4130-34. The NFL Parties filed replies, D.E. ##

4254-55, and Plaintiffs’ sur-replies closed the briefing, D.E. ## 4589, 4591. The Court heard

oral argument on the motions on April 9, 2013, and the Court’s ruling remains pending.

       D.     Mediation

       On July 8, 2013, the Court ordered Plaintiffs and the NFL Parties to enter mediation. The

Court appointed retired United States District Court Judge Layn R. Phillips as the mediator, and

ordered that Judge Phillips report back to the Court on or before September 3, 2013, with the

results of mediation. The Court held its ruling on the NFL Parties’ motions to dismiss on

preemption grounds in abeyance until the September 3, 2013 deadline, and instructed the Settling

Parties and their counsel to refrain from publicly discussing the mediation process or disclosing

any discussions they may have as part of that process, without further order of the Court. In


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addition to proposed Co-Lead Class Counsel for Plaintiffs, Christopher A. Seeger and Sol Weiss,

proposed Class Counsel, Steven C. Marks and Gene Locks, and proposed Subclass Counsel,

Arnold Levin and Dianne M. Nast, were brought into the mediation on behalf of Plaintiffs.

       Following his appointment by the Court, Judge Phillips actively supervised and

participated in the mediation process, and he regularly kept the Court apprised of the status of the

process. Judge Phillips presided over numerous negotiation/mediation sessions, including in-

person and telephonic meetings with counsel, either jointly or in separate groups. The mediation

process culminated in the execution of a Term Sheet on August 29, 2013. See Declaration of

Mediator and Former United States District Court Judge Layn R. Phillips attached to the Motion

for Preliminary Approval and Class Certification (“Phillips Declaration”) as Exhibit D.

       It is noteworthy that the Monetary Award Grid, see Exhibit 3 to the Settlement

Agreement (Exhibit B-3 to the underlying Motion), under the current Settlement Agreement

which provides for what the Court characterized as “significant award levels,” remains

unchanged from that which was originally negotiated by the Settling Parties with the assistance

of Judge Phillips, who opined that the Settlement was fair and reasonable. See Exhibit D to the

underlying Motion, at ¶¶ 18 and 19.

       E.      Public Announcement of the Proposed Settlement

       On August 29, 2013, the Court announced that “in accordance with the reporting

requirements in [its] order of July 8, 2013, the Honorable Layn Phillips, the court-appointed

mediator, informed [the Court] that the plaintiffs and the NFL defendants had signed a Term

Sheet incorporating the principal terms of a settlement.” D.E. # 5235. In its Order, the Court

reserved judgment on the fairness and adequacy of the Settlement pending the Settling Parties’

presentation to the Court of the Settlement Agreement, along with motions for preliminary and


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final approval. Id. Thereafter, the Settling Parties negotiated the Settlement Agreement that was

submitted for Preliminary Approval in January 2014.

         F.     Court Appointment of a Special Master

         On December 16, 2013, pursuant to Fed. R. Civ. P. 53, the Court appointed Perry Golkin

to serve as Special Master to assist the Court in evaluating the economic aspects of the proposed

settlement in view of its financial complexities. D.E. # 5607. Mr. Golkin agreed to serve in this

capacity without compensation. All expenses reasonably necessary to fulfill his duties will be

shared equally by the Plaintiffs and the NFL Parties prior to final approval, and the allocation

may be adjusted at the time of final approval.

         Upon final approval, the Court will appoint a Special Master for five-year terms with

input from the Co-Lead Class Counsel and Counsel for the NFL Parties for so long as the Court

believes such appointments are necessary. The annual compensation of the Special Master (not

to exceed $200,000) and his/her reasonable out-of-pocket costs and expenses shall be paid from

the Monetary Award Fund (which, in turn, is funded by the NFL Parties).

         G.     Court’s Denial Without Prejudice of Plaintiffs’ Motion for Preliminary
                Approval of Class Action Settlement, and Review of Supporting
                Documentation by the Special Master

         Following months of further negotiations on numerous specifics details related to the

agreement in principal reached in the Term Sheet, the Plaintiffs and the NFL Parties ultimately

agreed upon a Class Action Settlement Agreement, and on January 6, 2014, Proposed Co-Lead

Class Counsel, Class Counsel and Subclass Counsel moved for the entry of the Proposed

Preliminary Approval and Class Certification Order. D.E. # 5634. The Class Action Complaint,

Turner, et al. v. National Football League, et al., C.A. No. 14-29, also was filed on January 6,

2014.


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       On January 14, 2014, this Court denied the motion without prejudice. D.E. # 5657. The

Court praised the “commendable effort” of the parties to reach the negotiated class action

settlement, but expressed concern as to the adequacy of the proposed $675 million Monetary

Award Fund, in light of the 65-year lifespan of the Monetary Award Fund, the Settlement Class

size of more than 20,000 members and the potential magnitude of the awards. The Court

acknowledged that Plaintiffs had represented that their economists had conducted analyses to

ensure that there would be sufficient funding to provide benefits to all eligible Class Members,

given the size of the Settlement Class and projected incidence rates of all Retired NFL Football

Players who may receive Qualifying Diagnoses. The Court directed the parties to share the

documentation described in their submissions with the Special Master. D.E. # 5658.

       Guided by the Court’s Memorandum Opinion and the Special Master, the parties worked

from January to June to provide the Court with the assurance that “all Retired NFL Football

Players who ultimately receive a Qualifying Diagnosis or their related claimants will be paid.”

See D.E. # 5657, at p. 10. These further analyses led to an uncapping of the deal and the new

Settlement Agreement which is attached to the Motion which this Memorandum supports.

Under the current Settlement Agreement the NFL Parties must pay all valid claims for the next

65 years, and the Monetary Award Fund is no longer fixed at $675 million. However, the

significant award levels detailed in the Monetary Award Grid, attached as Exhibit B-3 to the

Motion which this Memorandum supports, remain unchanged. While the Settling Parties remain

undeterred in their belief that the $760 million deal originally struck would have been sufficient

to compensate all Class Members with valid claims over the term of the Monetary Award Fund,

the Settling Parties have now guaranteed payment of all valid claims without any concern that

the Settling Parties’ projections might have been inaccurate due to some unpredictable or


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unforeseen events. In exchange for agreeing to uncap the deal, the NFL Parties required the

inclusion in the new Settlement Agreement of additional measures designed to prevent

fraudulent claims. Nevertheless, under the new deal, the NFL Parties remain responsible to

provide all of the funding for the Monetary Award Fund, the BAP, and the Education Fund, as

well as paying, either directly or through their funding of the Monetary Award Fund or the BAP,

for the Class Notice costs, class attorneys’ fees, and the fees and expenses of the Special Master,

the Claims Administrator, and the BAP Administrator and certain fees of the Lien Resolution

Administrator.

III.    MATERIAL TERMS OF THE SETTLEMENT

        A.       Settlement Class and Subclasses

        The Settlement provides that the NFL Parties shall pay all Monetary Awards and

Derivative Claimant Awards to Settlement Class Members who qualify for such awards, up to

$75 million for the BAP, $10 million for the Education Fund, plus the cost for Class Notice, for

the benefit of a nationwide Settlement Class consisting of three types of Claimants:

                 (1) All living NFL Football Players who, prior to the date of the
                 Preliminary Approval and Class Certification Order, retired, formally or
                 informally, from playing professional football with the NFL or any
                 Member Club, including American Football League, World League of
                 American Football, NFL Europe League and NFL Europa League players,
                 or were formerly on any roster, including preseason, regular season, or
                 postseason, of any such Member Club or league and who no longer are
                 under contract to a Member Club and are not seeking active employment
                 as players with any Member Club, whether signed to a roster or signed to
                 any practice squad, developmental squad, or taxi squad of a Member Club
                 (“Retired NFL Football Players”);

                 (2) Authorized representatives, ordered by a court or other official of
                 competent jurisdiction under applicable state law, of deceased or legally
                 incapacitated or incompetent Retired NFL Football Players
                 (“Representative Claimants”); and



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              (3) Spouses, parents, children who are dependents, or any other persons
              who properly under applicable state law assert the right to sue
              independently or derivatively by reason of their relationship with a Retired
              NFL Football Player or deceased Retired NFL Football Player
              (“Derivative Claimants”).

       The Settlement Class consists of two Subclasses: Subclass 1 is defined as Retired NFL

Football Players who were not diagnosed with a Qualifying Diagnosis prior to the date of the

Preliminary Approval and Class Certification Order, and their Representative Claimants and

Derivative Claimants; and Subclass 2 is defined as Retired NFL Football Players who were

diagnosed with a Qualifying Diagnosis prior to the date of the Preliminary Approval and Class

Certification Order and their Representative Claimants and Derivative Claimants, and the

Representative Claimants of deceased Retired NFL Football Players who were diagnosed with a

Qualifying Diagnosis prior to death or who died prior to the date of the Preliminary Approval

and Class Certification Order and who received a post-mortem diagnosis of CTE. A Qualifying

Diagnosis is defined as Level 1.5 Neurocognitive Impairment (early Dementia), Level 2

Neurocognitive Impairment (moderate Dementia), Alzheimer’s Disease, Parkinson’s Disease,

ALS, and/or Death with CTE (post-mortem diagnosis prior to the date of the Preliminary

Approval and Class Certification Order).     See Exhibit 1 (Injury Definitions) to Settlement

Agreement.

       The proposed Settlement Class is clearly defined. Membership is ascertainable from the

NFL Parties’ records, the NFL’s pension plans, and other objective criteria. Current NFL

Football players are not included in the proposed Settlement Class. Additionally, persons who

tried out for a Member Club or team of the American Football League, World League of

American Football, NFL Europe League or NFL Europa League, but did not make a preseason,




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regular season or postseason roster, practice squad, developmental squad, or taxi squad, are not

included in the proposed Settlement Class.

         B.       Settlement Benefits

         The proposed Settlement provides three potential sources of benefits for Settlement Class

Members. First, the BAP provides eligible Retired NFL Football Players the opportunity to

obtain baseline neuropsychological and neurological examinations within a specified time period

to determine whether they suffer from any cognitive impairment, and if so, to what degree. For

players diagnosed with Level 1 Neurocognitive Impairment,6 BAP Supplemental Benefits will be

provided based on need, and may include medical treatment and/or examination by Qualified

BAP Providers, counseling and pharmaceuticals.                      Second, Retired NFL Football Players

diagnosed with Level 1.5 Neurocognitive Impairment (early Dementia),7 Level 2 Neurocognitive


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  Level 1 Neurocognitive Impairment is defined as follows:
(a) For Retired NFL Football Players diagnosed through the BAP, a diagnosis of Level 1 Neurocognitive
Impairment must meet the criteria set forth in subsections (i)-(iv) below:
          (i)       Concern of the Retired NFL Football Player, a knowledgeable informant, or the Qualified BAP
Provider that there has been a decline in cognitive function.
          (ii)      Evidence of moderate cognitive decline from a previous level of performance, as determined by
and in accordance with the standardized neuropsychological testing protocol annexed in Exhibit 2 to the Settlement
Agreement, in two or more cognitive domains (complex attention, executive function, learning and memory,
language, perceptual-spatial), provided one of the cognitive domains is (a) executive function, (b) learning and
memory, or (c) complex attention.
          (iii)     The Retired NFL Football Player exhibits functional impairment generally consistent with the
criteria set forth in the National Alzheimer’s Coordinating Center’s Clinical Dementia Rating scale Category 0.5
(Questionable) in the areas of Community Affairs, Home & Hobbies, and Personal Care.
          (iv)      The cognitive deficits do not occur exclusively in the context of a delirium, acute substance abuse,
or as a result of medication side effects.
(b) Level 1 Neurocognitive Impairment, for the purposes of this Settlement Agreement, may only be diagnosed by
Qualified BAP Providers during a BAP baseline assessment examination, with agreement on the diagnosis by the
Qualified BAP Providers.
7
  Level 1.5 Neurocognitive Impairment is defined to be:
(a) For Retired NFL Football Players diagnosed through the BAP, a diagnosis of Level 1.5 Neurocognitive
Impairment must meet the criteria set forth in subsections (i)-(iv) below:
          (i)     Concern of the Retired NFL Football Player, a knowledgeable informant, or the Qualified BAP
Provider that there has been a severe decline in cognitive function.
          (ii)    Evidence of a moderate to severe cognitive decline from a previous level of performance, as
determined by and in accordance with the standardized neuropsychological testing protocol annexed in Exhibit 2 to
the Settlement Agreement, in two or more cognitive domains (complex attention, executive function, learning and

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Impairment (moderate Dementia),8 ALS, Alzheimer’s Disease, or Parkinson’s Disease, and

representatives of certain deceased Retired NFL Football Players diagnosed post-mortem with



memory, language, perceptual-spatial), provided one of the cognitive domains is (a) executive function, (b) learning
and memory, or (c) complex attention.
          (iii)     The Retired NFL Football Player exhibits functional impairment generally consistent with the
criteria set forth in the National Alzheimer’s Coordinating Center’s Clinical Dementia Rating (CDR) scale Category
1.0 (Mild) in the areas of Community Affairs, Home & Hobbies, and Personal Care. Such functional impairment
shall be corroborated by documentary evidence (e.g., medical records, employment records), the sufficiency of
which will be determined by the physician making the Qualifying Diagnosis. In the event that no documentary
evidence of functional impairment exists or is available, then (a) there must be evidence of moderate to severe
cognitive decline from a previous level of performance, as determined by and in accordance with the standardized
neuropsychological testing protocol annexed in Exhibit 2 to the Settlement Agreement, in the executive function
cognitive domain or the learning and memory cognitive domain, and at least one other cognitive domain; and (b) the
Retired NFL Football Player’s functional impairment, as described above, must be corroborated by a third-party
sworn affidavit from a person familiar with the Retired NFL Football Player’s condition (other than the player or his
family members), the sufficiency of which will be determined by the physician making the Qualifying Diagnosis.
          (iv)      The cognitive deficits do not occur exclusively in the context of a delirium, acute substance abuse,
or as a result of medication side effects.
(b) For living Retired NFL Football Players diagnosed outside of the BAP, a diagnosis of Level 1.5 Neurocognitive
Impairment, i.e., early dementia, based on evaluation and evidence generally consistent with the diagnostic criteria
set forth in subsection 1(a)(i)-(iv) above, made by a Qualified MAF Physician or a board-certified or otherwise
qualified neurologist, neurosurgeon, or other neuro-specialist physician, as set forth and provided in Sections 6.3(b)-
(d) of the Settlement Agreement.
(c) For Retired NFL Football Players deceased prior to the Effective Date, a diagnosis of Level 1.5 Neurocognitive
Impairment, i.e., early dementia, based on evaluation and evidence generally consistent with the diagnostic criteria
set forth in subsection 1(a)(i)-(iv) above, made while the Retired NFL Football Player was living by a board-
certified or otherwise qualified neurologist, neurosurgeon, or other neuro-specialist physician, or by a physician with
sufficient qualifications in the field of neurology or neurocognitive disorders, as set forth and provided in Sections
6.3(c)-(e) of the Settlement Agreement.
8
  Level 2 Neurocognitive Impairment is defined to be:
(a) For Retired NFL Football Players diagnosed through the BAP, a diagnosis of Level 2 Neurocognitive
Impairment must meet the criteria set forth in subsections (i)-(iv) below:
          (i)       Concern of the Retired NFL Football Player, a knowledgeable informant, or the Qualified BAP
Provider that there has been a severe decline in cognitive function.
          (ii)      Evidence of a severe cognitive decline from a previous level of performance, as determined by and
in accordance with the standardized neuropsychological testing protocol annexed in Exhibit 2 to the Settlement
Agreement, in two or more cognitive domains (complex attention, executive function, learning and memory,
language, perceptual-spatial), provided one of the cognitive domains is (a) executive function, (b) learning and
memory, or (c) complex attention.
          (iii)     The Retired NFL Football Player exhibits functional impairment generally consistent with the
criteria set forth in the National Alzheimer’s Coordinating Center’s Clinical Dementia Rating (CDR) scale Category
2.0 (Moderate) in the areas of Community Affairs, Home & Hobbies, and Personal Care. Such functional
impairment shall be corroborated by documentary evidence (e.g., medical records, employment records), the
sufficiency of which will be determined by the physician making the Qualifying Diagnosis. In the event that no
documentary evidence of functional impairment exists or is available, then (a) there must be evidence of severe
cognitive decline from a previous level of performance, as determined by and in accordance with the standardized
neuropsychological testing protocol annexed in Exhibit 2 to the Settlement Agreement, in the executive function
cognitive domain or the learning and memory cognitive domain, and at least one other cognitive domain; and (b) the
Retired NFL Football Player’s functional impairment, as described above, must be corroborated by a third-party

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CTE9 will be eligible for a cash Monetary Award from the Monetary Award Fund, based on the

retired player’s age at the time of diagnosis, the number of NFL Football seasons played, and

other applicable offsets agreed to by the Settling Parties.                     Representative and Derivative

Claimants may apply for a Monetary Award as well. Third, the Settlement will establish an

Education Fund to fund education programs promoting safety and injury prevention with regard

to football players, including safety-related initiatives in youth football, and to educate Retired

NFL Football Players regarding the NFL’s medical and disability programs and other

educational programs and initiatives.

         Importantly, the Settlement does not require Settlement Class Members to prove that the

Retired NFL Football Player’s cognitive injuries were caused by NFL-related concussions or

sub-concussive head injuries.           Upon timely submission of a complete Claim Package, the

Settlement Class Member will be eligible to receive benefits in accordance with the Settlement

Agreement.


sworn affidavit from a person familiar with the Retired NFL Football Player’s condition (other than the player or his
family members), the sufficiency of which will be determined by the physician making the Qualifying Diagnosis.
          (iv)     The cognitive deficits do not occur exclusively in the context of a delirium, acute substance abuse,
or as a result of medication side effects.
(b) For living Retired NFL Football Players diagnosed outside of the BAP, a diagnosis of Level 2 Neurocognitive
Impairment, i.e., moderate dementia, based on evaluation and evidence generally consistent with the diagnostic
criteria set forth in subsection 2(a)(i)-(iv) above, unless the diagnosing physician can certify in the Diagnosing
Physician Certification that certain testing in 2(a)(i)-(iv) is medically unnecessary because the Retired NFL Football
Player’s dementia is so severe, made by a Qualified MAF Physician or a board-certified or otherwise qualified
neurologist, neurosurgeon, or other neuro-specialist physician, as set forth and provided in Sections 6.3(b)-(d) of the
Settlement Agreement.
(c) For Retired NFL Football Players deceased prior to the Effective Date, a diagnosis of Level 2 Neurocognitive
Impairment, i.e., moderate dementia, based on evaluation and evidence generally consistent with the diagnostic
criteria set forth in subsection 2(a)(i)-(iv) above, unless the diagnosing physician can certify in the Diagnosing
Physician Certification that certain testing in 2(a)(i)-(iv) was medically unnecessary because the Retired NFL
Football Player’s dementia was so severe, made while the Retired NFL Football Player was living by a board-
certified or otherwise qualified neurologist, neurosurgeon, or other neuro-specialist physician, or by a physician with
sufficient qualifications in the field of neurology or neurocognitive disorders, as set forth and provided in Sections
6.3(c)-(e) of the Settlement Agreement.
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  ALS, Alzheimer’s Disease, Parkinson’s Disease and Death with Chronic Traumatic Encephalopathy are defined
specifically in the Injury Definitions attached as Exhibit 1 to the Settlement Agreement.

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       Registration for Settlement benefits will be overseen by the Claims Administrator, who

will establish and administer both online and hard copy registration methods. Unless good cause

is shown, individuals must register within 180 days from the date that the Claims Administrator

provides notice of registration methods and requirements. Purported Settlement Class Members

and the NFL Parties, in certain circumstances, may challenge registration determinations to the

Claims Administrator and may appeal that determination to the Court (which may, in its

discretion, refer the matter to the Special Master), whose decision shall be final and binding.

       Notably, Retired NFL Football Players are not precluded from participating in the

Settlement as a result of having received benefits related to neurocognitive injuries pursuant to

benefit programs provided under a Collective Bargaining Agreement (“CBA”) with the NFL

(e.g., the 88 Plan) or because they signed releases and covenants not to sue the NFL pursuant to

the Neuro-Cognitive Disability Benefit under Article 65 of the 2011 CBA. The NFL Parties

have agreed not to assert any defense or objection to a Settlement Class Member’s receipt of

benefits under the Settlement Agreement on the ground that he executed the Article 65 release

and covenant not to sue. As discussed below, apart from and in addition to Settlement benefits,

Retired NFL Football Players are entitled to seek all applicable bargained-for benefits in the

Collective Bargaining Agreements with the NFL.

               1.      Baseline Assessment Program

       The Settlement will create a BAP to evaluate retired players objectively for evidence of

cognitive decline and provide medical treatment and further testing for any player found to be

suffering from Level 1 Neurocognitive Impairment. In addition to detecting any cognitive

impairment, the results of BAP examinations can be used as a comparison against any future

tests to determine whether a Retired NFL Football Player’s cognitive abilities have deteriorated.


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The BAP examinations also serve to inform Retired NFL Football Players and their families of

the player’s current level of cognitive functioning. The NFL Parties will make an initial deposit

of $35 million to fund the BAP, and will pay an additional $40 million to continue funding the

BAP, as necessary.

        A BAP Administrator will be appointed to set up a network of qualified medical

providers (“Qualified BAP Providers”) to administer the baseline assessment examinations for

Retired NFL Football Players. A Special Master will be appointed for successive 5-year terms to

oversee the BAP Administrator, among other responsibilities.10

        All Retired NFL Football Players who are credited with at least one-half of an Eligible

Season, as described below, and who timely register to participate in the Class Action

Settlement, may participate in the BAP and receive a baseline assessment examination. A

baseline assessment examination includes a detailed, standardized neuropsychological

examination performed by a neuropsychologist certified by the American Board of Professional

Psychology (ABPP) or the American Board of Clinical Neuropsychology (ABCN), a member

board of the American Board of Professional Psychology, in the specialty of Clinical

Neuropsychology, and a basic neurological examination performed by a board-certified

neurologist. The deadline for receiving a baseline assessment examination depends on the age of

the Retired NFL Football Player as of the Effective Date of the Settlement Agreement. Retired
10
   In addition to overseeing the BAP Administrator, the Special Master will oversee the functions of the Claims
Administrator, appointed to process claims for Monetary Awards and Derivative Claimant Awards, as described
below. If and when the Court determines, in consultation with Co-Lead Class Counsel and Counsel for the NFL
Parties, that the successive 5-year terms for the Special Master should conclude, the Special Master’s role and
responsibilities will revert to the Court. The NFL Parties have agreed that the annual compensation of the Special
Master, which is capped at $200,000 per year, as well as his/her reasonable costs and expenses, will be paid by the
Monetary Award Fund, which is funded by the NFL Parties. The NFL Parties have agreed that the reasonable
compensation, and reasonable out-of-pocket costs and expenses of the Claims Administrator also will be paid by the
Monetary Award Fund, funded by the NFL Parties. The BAP Fund (funded by the NFL Parties) will pay the
reasonable compensation, and reasonable out-of-pocket costs and expenses of the BAP Administrator.


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NFL Football Players 43 or older as of the Effective Date, and who elect to participate in the

BAP, must receive the baseline assessment examination within two years of the Effective Date.

Retired NFL Football Players under the age of 43 as of the Effective Date, and who elect to

participate in the BAP, must receive the baseline assessment examination within 10 years after

commencement of the BAP, or before they turn 45, whichever occurs first. In the event a

Retired NFL Football Player who is a member of Subclass 1 does not participate in the BAP, he

remains eligible for a Monetary Award if he develops a Qualifying Diagnosis, except that any

such Monetary Award will be reduced by ten percent (except for a diagnosis of ALS), unless the

Retired NFL Football Player received his Qualifying Diagnosis prior to his deadline to receive a

BAP baseline assessment examination.

         Retired NFL Football Players who are diagnosed during a BAP baseline assessment

examination with Level 1 Neurocognitive Impairment will receive BAP Supplemental Benefits

that entitle them to medical testing and/or treatment, including, as needed, counseling and

pharmaceutical coverage, within a network of Qualified BAP Providers and Qualified BAP

Pharmacy Vendors.        If Retired NFL Football Players are diagnosed with Level 1.5

Neurocognitive Impairment or Level 2 Neurocognitive Impairment during a BAP baseline

assessment examination, they may seek a cash Monetary Award from the Monetary Award

Fund.

         A web portal linked to the Settlement Website will be set up to assist Settlement Class

Members with access to BAP services. All eligible Retired NFL Football Players will be

encouraged to take advantage of the BAP. Further, subject to the reasonable informed consent of

Retired NFL Football Players, in compliance with applicable privacy and health laws, and any

other customary authorization, medical data generated through the Class Action Settlement will


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be made available for use by those conducting medical research in cognitive impairment, safety

and injury prevention.

               2.        Monetary Awards and Derivative Claimant Awards

       The largest component of the Settlement is the Monetary Award Fund, which funds

provide for payment of cash Monetary Awards and Derivative Claimant Awards to Retired NFL

Football Players diagnosed with Qualifying Diagnoses, as set forth in the Injury Definitions

(attached as Exhibit 1 to the Settlement Agreement), and their Representative and Derivative

Claimants. A Qualifying Diagnosis is defined as Level 1.5 Neurocognitive Impairment (early

Dementia), Level 2 Neurocognitive Impairment (moderate Dementia), Alzheimer’s Disease,

Parkinson’s Disease, ALS and/or Death with CTE (post-mortem diagnosis prior to the date of the

Preliminary Approval and Class Certification Order). Qualifying Diagnoses shall be made by

Qualified MAF Physicians, Qualified BAP Providers or otherwise appropriately credentialed

medical professionals, as set forth in the Injury Definitions (id.) and Section 6.3 of the Settlement

Agreement. Details regarding the Retired NFL Football Player’s Qualifying Diagnosis must be

provided with the Settlement Class Member’s Claim Package or Derivative Claim Package and

will form the basis for the Claims Administrator’s review and award determination.

                         a)    Maximum Awards

       The maximum Monetary Award for each Qualifying Diagnosis category is as follows:

             Qualifying Diagnosis                     Maximum Award
             ALS                                      $5 million
             Death with CTE                           $4 million
             Alzheimer’s Disease                      $3.5 million
             Parkinson’s Disease                      $3.5 million
             Level 2 Neurocognitive Impairment        $3 million
             Level 1.5 Neurocognitive                 $1.5 million
             Impairment



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       Monetary Awards will be processed by a Claims Administrator appointed by the Court.

The costs of the Claims Administrator will be paid from the Monetary Award Fund, which is

funded by the NFL Parties. Monetary Awards are based on the particular Qualifying Diagnosis

that the retired player receives and will be downwardly adjusted based on the retired player’s age

at the time of that diagnosis and all other applicable Offsets. Generally, the younger a Retired

NFL Football Player is when he receives a Qualifying Diagnosis, the greater the base

compensation for the Monetary Award.          See Monetary Award Grid, at Exhibit 3 to the

Settlement Agreement. Conversely, the older a Retired NFL Football Player is when he receives

a Qualifying Diagnosis, the lower the base compensation for the Monetary Award. At age 80 or

older, the base Monetary Award for ALS becomes fixed at $300,000, before application of

Offsets. Id. The base Monetary Awards for Retired NFL Football Players diagnosed at age 80

or older with Level 2 Neurocognitive Impairment, Alzheimer’s Disease, Parkinson’s Disease, or

Death with CTE are fixed at $50,000, before application of Offsets, and for Level 1.5

Neurocognitive Impairment, the base award is fixed at $25,000, before application of Offsets.

Id. The Award levels based on a Retired NFL Football Player’s age at the time of the Qualifying

Diagnosis and the percentage reduction of any applicable Offsets are laid out in the Settlement

Agreement and Monetary Award Grid attached thereto.

       All Monetary Awards will be adjusted upwards annually for inflation, beginning one year

after the Effective Date, up to 2.5% per year, the precise amount subject to the sound judgment

of the Special Master (or the Court if such time comes that the Co-Lead Class Counsel and

Counsel for the NFL Parties agree that the Special Master’s role is no longer necessary), based

on consideration of the Consumer Price Index for Urban Consumers (CPI-U).




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                       b)     Supplemental Awards

       If, after receiving an initial Monetary Award, a Retired NFL Football Player becomes

eligible for a larger Award (after Offsets) because of a different Qualifying Diagnosis, the retired

player will be provided with a Supplemental Monetary Award to ensure that the retired player

receives the maximum award to which he is entitled.

                       c)     Credited Eligible Seasons

       Retired NFL Football Players who are credited with at least five Eligible Seasons will

receive the maximum Monetary Award for their injury and their age, absent other applicable

Offsets. For Retired NFL Football Players with fewer than five Eligible Seasons, the Monetary

Award will be reduced anywhere between 10% (for players with 4.5 Eligible Seasons) and

97.5% (for players with 0 Eligible Seasons), as set forth in the following chart.

                            Number of             Percentage of
                            Credited Eligible     Reduction in
                            Seasons               Monetary Award
                            4.5                   10%
                            4.0                   20%
                            3.5                   30%
                            3.0                   40%
                            2.5                   50%
                            2.0                   60%
                            1.5                   70%
                            1.0                   80%
                            0.5                   90%
                            0                     97.5%

       Pursuant to the Settlement Agreement, a Retired NFL Football Player earns one Eligible

Season for each season in which the retired player was on an NFL or AFL Member Club’s

Active List on the date of three or more regular season or postseason games, or on the date of

one or more regular or postseason games and then spent two regular or postseason games on a

Member Club’s injured reserve list or inactive list due to a concussion or head injury. A Retired

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NFL Football Player earns one-half of an Eligible Season for each season in which the player

was on an NFL or AFL Member Club’s practice, developmental, or taxi squad for at least eight

games, but for which he did not otherwise earn an Eligible Season. Time spent playing for the

World League of American Football, NFL Europe League, and NFL Europa League does not

count towards, and is specifically excluded from, the calculation of an Eligible Season. To

determine the total number of Eligible Seasons credited to a player, all of the earned Eligible

Seasons and half Eligible Seasons are summed together. For example, if a retired player has

earned two Eligible Seasons and three half Eligible Seasons, he will be credited with 3.5 Eligible

Seasons, and his award will be reduced by 30%.

                       d)     Offsets

       In addition to Offsets for shorter football careers, Monetary Awards may be reduced

significantly (by 75%) for Retired NFL Football Players who prior to receiving a Qualifying

Diagnosis suffered a medically diagnosed stroke, which occurred prior to or after the time the

Retired NFL Football Player played NFL Football, or a Traumatic Brain Injury unrelated to NFL

Football play (such as in an automobile accident) that occurs during or after the time the Retired

NFL Football Player played NFL Football, reflecting a presumptive attribution of the retired

player’s injury to non-NFL Football causes. Retired NFL Football Players subject to these

Offsets will have the opportunity to present clear and convincing evidence to the Claims

Administrator that the stroke or brain injury is not related to the Qualifying Diagnosis in order to

avoid the Offset.

       In addition, as described above, a 10% reduction in Monetary Awards applies to those

Qualifying Diagnoses obtained by Subclass 1 members outside the BAP (except for a diagnosis

of ALS), unless the Retired NFL Football Player participates in the BAP or receives his


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Qualifying Diagnosis prior to his deadline to receive a BAP baseline assessment examination.

The purpose of this Offset is to encourage Retired NFL Football Players to make use of the BAP.

                      e)     Lien Resolution

       Once the Monetary Awards are calculated by the Claims Administrator, the Lien

Resolution Administrator will administer the process for the identification and settlement of all

applicable and legally enforceable liens, which may include, among others, those related to state

or federal governmental payors, Medicare Parts A and B (as contemplated by the Medicare

Secondary Payer Act, 42 U.S.C. § 1395y(b)), Medicare Part C or Part D plans, Medicaid, and

other state or federal governmental healthcare programs with statutory reimbursement or

subrogation rights (such as TRICARE, the Department of Veterans Affairs, and Indian Health

Services). The amount of any lien(s) shall be deducted from the Monetary Award or Derivative

Claimant Award, along with the costs of the Lien Administrator, except for the Lien

Administrator’s costs related to lien verification, which costs shall be borne by the Monetary

Award Fund (which is funded by the NFL Parties).

                      f)     Derivative Claimant Awards

       Derivative Claimants will be entitled to 1% of the Monetary Award received by the

Retired NFL Football Players or Representative Claimants (for deceased, incompetent, or

incapacitated retired players) through whom the relationship is the basis of the claim (such that

the Retired NFL Football Player or Representative Claimant will receive 99% of the Award). If

there are multiple Derivative Claimants, the 1% award will be divided among them based on the

laws of the state where the Retired NFL Football Player to whom they are related is domiciled.




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                       g)      Appeals

       Settlement Class Members and the NFL Parties have a right to appeal either a

determination of whether a Settlement Class Member is entitled to a Monetary Award or

Derivative Claimant Award, or the amount of the Award. Co-Lead Class Counsel also have the

right to submit papers in support of, or in opposition to, an appeal. Appeals will be overseen by

the Court, which may seek the advice of a panel of physicians appointed by the Court, as defined

in Section 2.1(g) of the Settlement Agreement (“Appeals Advisory Panel”) or the

neuropsychologists selected to serve as consultants (“Appeals Advisory Panel Consultants”), as

defined in Section 2.1(h). The Court may, in its discretion, refer the appeal to the Special

Master, who also may seek advice from the Appeals Advisory Panel or the Appeals Advisory

Panel Consultants. Appellants must present clear and convincing evidence in support of the

appeal. To discourage appeals that lack merit, Settlement Class Members will be charged a fee

of $1,000 to appeal their claim determination; however, this sum will be refunded if the appeal is

successful.   The NFL Parties may appeal Monetary Award or Derivative Claimant Award

determinations in good faith.       If Co-Lead Class Counsel believe that the NFL Parties are

submitting vexatious, frivolous or bad faith appeals, Co-Lead Class Counsel may petition the

Court for the appropriate relief.

                       h)      Funding

       The Settling Parties consulted extensively with their own medical experts, actuaries, and

economists, with the assistance of the court-appointed mediator. See Phillips Declaration, at ¶ 8.

Plaintiffs’ economists conducted thorough analyses regarding funding the Settlement to ensure

that there would be enough money to provide benefits to all eligible Settlement Class Members,

taking into account the size of the proposed Settlement Class and projecting the incidence rates


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of each Qualifying Diagnosis over the term of the Settlement. After hard-fought negotiations,

the Settling Parties arrived at an aggregate sum that proposed Co-Lead Class Counsel, Class

Counsel and Subclass Counsel believed was sufficient to compensate all Retired NFL Football

Players who might be diagnosed with Qualifying Diagnoses and their Representative and

Derivative Claimants.

       However, in light of the Court’s Memorandum Opinion of January 14, 2014 and Special

Master Golkin’s input, the parties opted to provide a guarantee that the Monetary Award Fund

would be sufficient to provide compensation to all Retired NFL Football Players with Qualifying

Diagnoses over the next 65 years. Through further hard-fought negotiations, the parties reached

agreement on a new deal, the current Settlement Agreement, which includes an uncapped

Monetary Award Fund and an affirmative obligation on the part of the NFL Parties to pay all

valid claims.

       Within six months after the Effective Date of the current Settlement Agreement, $120

million earmarked for the Monetary Award Fund will be deposited into the Settlement Trust

Account by the NFL Parties. The NFL Parties shall make additional monthly deposits, as

needed, based upon monthly reports from the Claims Administrator.           The Monetary Award

Fund shall maintain a targeted reserve of $10 million through the tenth year of its existence; a $5

million reserve for its eleventh through fiftieth years; a $1 million reserve for its fifty-first

through sixtieth years; and a $250,000 reserve through its sixty-fifth year. Proposed Co-Lead

Class Counsel, Class Counsel and Subclass Counsel expect the 65-year term to be long enough

to compensate the youngest Retired NFL Football Players in the event they develop Qualifying

Diagnoses.




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                3.        Education Fund

        The NFL Parties have agreed to contribute $10 million to establish an Education Fund for

the benefit of the Settlement Class. This fund will support education, as directed by the Court

with input from Co-Lead Class Counsel, Counsel for the NFL Parties, and medical experts, into

cognitive impairment, safety and injury prevention with regard to football players. In addition,

the Settling Parties have agreed that a portion of the Education Fund will be used to fund

education programs benefiting Retired NFL Football Players and safety-related initiatives in

youth football, among other programs, to be approved by the Court. The fund also will have an

education component that will inform Retired NFL Football Players and their families about the

NFL’s medical and disability benefits programs and other programs and initiatives that would

inure to their benefit.

                4.        Preservation of Collective Bargaining Benefits and Claims for
                          Workers’ Compensation

        The Settlement preserves Retired NFL Football Players’ rights to pursue any and all

benefits under the current 2011 NFL Collective Bargaining Agreement, the 88 Plan, and any

other current or future applicable collective bargaining agreement.        Participation in the

Settlement will not affect a Retired NFL Football Player’s ability to pursue any bargained-for

benefits, including the NFL’s Neuro-Cognitive Disability Benefit.

        In addition, the Settlement will ensure that the provision included in Article 65 of the

current CBA, Section 2—requiring that players execute a release of claims and covenant not to

sue in order to be eligible for the NFL’s Neuro-Cognitive Disability Benefit—will not be

enforced or used against the Settlement Class Members in connection with this Settlement,

except if they exclude themselves from the Settlement Class. The NFL Parties have agreed not



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to enforce that release with regard to Settlement benefits to the extent a Settlement Class

Member previously signed it when submitting an application. Without the NFL’s agreement on

this point, certain Retired NFL Football Players would be barred from receiving any Settlement

benefits and would be limited to benefits made available under the CBA only.

       Moreover, as part of the release that Settlement Class Members will provide to the NFL

Parties in exchange for the former’s participation in the Settlement and right to Settlement

benefits, Retired NFL Football Players will not be required to release or dismiss claims for

workers’ compensation or claims alleging entitlement to NFL CBA Medical and Disability

Benefits.

              5.      Waiver of Causation, Statutes of Limitations, and Other Defenses

       The Settlement eliminates many serious obstacles that Retired NFL Football Players

would have faced in the litigation, as summarized below in more detail. Moreover, even within

the confines of the Settlement, Retired NFL Football Players (and their Representative

Claimants) with a Qualifying Diagnosis do not have to prove or submit any evidence of

causation in order to receive Monetary Awards. IN OTHER WORDS, THEY DO NOT NEED

TO SHOW THAT THEIR QUALIFYING DIAGNOSES RESULTED FROM CONCUSSIONS

RELATED TO NFL FOOTBALL. They only need to provide a qualified medical professional’s

diagnosis of a Qualifying Diagnosis and timely and completely submit the required paperwork

and proof, as outlined in the Settlement Agreement.

       In addition, currently undiagnosed Retired NFL Football Players can seek Monetary

Awards if they later receive a Qualifying Diagnosis during the term of the Monetary Award

Fund. Retired NFL Football Players who already received a Qualifying Diagnosis by the time of

the issuance of the Preliminary Approval and Class Certification Order are entitled to Monetary


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Awards regardless of when they played NFL Football or how long ago they may have sustained

a concussion, except for Retired NFL Football Players who died prior to January 1, 2006. No

Monetary Awards will be made where the Retired NFL Football Player died prior to January 1,

2006, unless the Court determines that the claim of the pre-2006 decedent would not be barred

by the applicable statute of limitations. Absent the Settlement, these claimants would confront

the same statute of limitations hurdle on wrongful death claims.

                 6.       Attorneys’ Fees

        The Settling Parties did not discuss the issue of attorneys’ fees at any point during the

mediation sessions (except to defer the issue), until after an agreement in principal was reached

on all material Settlement terms providing benefits to the Settlement Class and

Subclass Members and after the Term Sheet was inked, in an abundance of caution and

consistent with Prandini v. National Tea Co., 585 F.2d 47, 53 (3d Cir. 1978).11 The NFL Parties

have since agreed not to object to a petition for an award of class attorneys’ fees and reasonable

incurred costs by proposed Co-Lead Class Counsel, Class Counsel and Subclass Counsel,

provided the amount requested does not exceed $112.5 million. The $112.5 million to be paid

by the NFL Parties is in addition to the amounts that the NFL Parties will pay to satisfy all

Monetary Awards, up to $75 million that will fund the BAP Fund and $10 million that will fund

the Education Fund, the costs for Class Notice and certain administrative costs (paid by the NFL

Parties via the Monetary Award Fund or the BAP). Unlike traditional common fund cases where

attorneys’ fees are obtained directly from the common fund, the Settlement Class is further

benefitted by the separate payment of Class attorneys’ fees by the NFL Parties.

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  Prandini has since been overruled by Evans v. Jeff D., 475 U.S. 717, 734-38 (1986) and the strict prohibition
against negotiating fees together with the negotiation of the settlement no longer exists. Nevertheless, that
conservative convention was followed in the negotiation process in this case.

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       The Court will determine the amount of the Class attorneys’ fee and cost award in

accordance with applicable common benefit fee jurisprudence. Settlement Class Members will

have an opportunity to comment on or object to these fees at an appropriate time. Having the

NFL Parties pay Class attorneys’ fees and reasonable incurred costs separate from the other

amounts the NFL is paying under the Settlement is another very significant benefit to Settlement

Class Members.

       After the Effective Date, Co-Lead Class Counsel may petition the Court to set aside up to

five percent (5%) of each Monetary Award and Derivative Claimant Award to facilitate the

Settlement program and related efforts of Co-Lead Class Counsel, Class Counsel, and Subclass

Counsel. These set-aside monies shall be held in a separate fund overseen by the Court. Any

future petition for a set-aside will describe: (i) the proposed amount; (ii) how the money will be

used; and (iii) any other relevant information (for example, the assurance that any “set-aside”

from a Monetary Award or Derivative Claimant Award for a Settlement Class Member

represented by his/her individual counsel will reduce the attorney’s fee payable to that counsel

by the amount of the “set-aside”). No money will be held back or set aside from any Monetary

Award or Derivative Claimant Award without Court approval.              The NFL Parties have

represented that they believe that any such proposed set aside application is a matter strictly

between and among Settlement Class Members, Class Counsel and the individual counsel for

Settlement Class Members. The NFL Parties further represented that they will take no position

on the proposed set aside and will take no position on the proposed set aside in the event such an

application is made.




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        C.      Releases, Covenant Not To Sue And Bar Order

        In exchange for the benefits provided under the Settlement Agreement, the Releasors will

release all claims and dismiss with prejudice all actions and claims against, and covenant not to

sue, the Released Parties in this litigation and all Related Lawsuits in this Court and other courts,

in accordance with the terms of Article XVIII set forth in the Settlement Agreement.

        In response to the Court’s Memorandum Opinion at page 10, footnote 6, Section 18.5 of

the prior Settlement Agreement has been removed. Under the current Settlement Agreement

Class Members that receive Monetary Awards will not be required to dismiss pending suits

and/or forebear from bringing litigation relating to cognitive injuries against the National

Collegiate Athletic Association and any other collegiate, amateur, or youth football organizations

and entities.

        As a condition to approval of the Settlement, the Settling Parties also intend to move the

Court for a bar order and judgment reduction provision, as part of the Final Order and Judgment.

See Exhibit 4 to the Settlement Agreement. The bar order will bar other parties from seeking

indemnification or contribution from the Released Parties for claims relating to this litigation.

        Plaintiffs’ claims against the Riddell Defendants will not be released or dismissed by the

Settlement.

        D.      Class Notice

        The Settlement terms are complex, but must and will be explained in simple, clear notices

to the Settlement Class. To effectuate such notice, Co-Lead Class Counsel has worked with

Katherine Kinsella, President of Kinsella Media, LLC, an advertising and legal notification firm

specializing in the design and implementation of notification plans. See Declaration of Katherine

Kinsella (“Kinsella Declaration”). Indeed, members of Kinsella Media, LLC were involved with


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creating the Federal Judicial Center’s “‘Illustrative’ Forms of Class Action Notices,” which

appear on the Federal Judicial Center’s website. The proposed Notices created for this case by

Kinsella Media, LLC conform to those samples.

         The Settling Parties estimate that the number of readily identifiable Settlement Class

Members is over 20,000. In comparison, the settlement class in Dryer v. NFL,12 which was

finally approved on November 4, 2013, Dryer v. National Football League, Civil No. 09-2182-

PAM/AJB, 2013 WL 5888231 (D. Minn. Nov. 1, 2013) and D.E. # 432, has a total of 27,347

retired players, with 21,289 living players and 6,058 deceased players. Co-Lead Class Counsel,

Class Counsel and Subclass Counsel believe there are approximately an additional 2,000 AFL,

World League of American Football, NFL Europa and NFL Europe players who are in the

proposed Settlement Class, and who are not in the Dryer case, and several thousand other

Settlement Class Members who were on preseason rosters only.

         Many Retired NFL Football Players will be reachable through direct individual notice,

due to the existence, through the NFL Parties and the NFL Players Association, of multiple lists

identifying former NFL players. These sources include: the current Bert Bell/Pete Rozelle NFL

Player Retirement Plan pension list; Retired NFL Football Player address data collected and

used in the Dryer case; a list of NFL players active through 2010 compiled by STATS; a list of

former NFL Europe, World League and NFL Europa players; and a list of former AFL players.

Co-Lead Class Counsel will utilize: (1) the social security death index to determine additional

deceased Retired NFL Football Players; (2) LexisNexis’s relative search to find the nearest

12
     The Dryer case was finally approved in the federal district court of Minnesota. Dryer is a certified settlement
class action, alleging that the NFL’s use of former players’ identities after the players’ retirement violated their state
law rights of publicity, the Lanham Act, and other state law provisions. The certified settlement class is “any
Retired Player, and if a Retired Player is deceased, all of his respective heirs, executors, administrators,
beneficiaries, successors, and assigns who own or control his Publicity Rights.” D.E. # 262-1, at ¶¶ 1, 6.


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relative or last person to live with the deceased Retired NFL Football Player; and (3) the national

change of address database, as applicable, to get the most recent address for Settlement Class

Members.

       The proposed Notice Plan attached to the Kinsella Declaration (which is Exhibit C to the

Motion) has multiple features to ensure compliance with Due Process. The Plan will include:

(1) direct individual notice to identifiable Retired NFL Football Players and heirs of deceased

Retired NFL Football Players; (2) paid publication notice in various media sources; and

(3) notice to targeted third parties, such as nursing homes, designed to reach additional retirees

who may be incapacitated or incompetent.

       The Long-Form Notice included in the direct mailings will describe the Settlement in

plain, easily understood language and advise Settlement Class Members of their rights regarding

opting out of the Settlement and/or objecting thereto. The notice will explain to Settlement Class

Members that it is necessary for them to register in order to be eligible for Settlement benefits.

Notice will be sent to Settlement Class Members via first-class mail.

       For paid media coverage, Co-Lead Class Counsel plan to use print, television, radio and

Internet advertisements to reach Settlement Class Members, including Retired NFL Football

Players, legal representatives, spouses, family members and heirs. Print advertisements will

include full-page color ads in selected consumer magazines. Thirty-second television spots will

appear on the NFL Network, as well as cable and broadcast outlets. Radio spots also will be

used. Internet ads using non-static pre-roll, flash, and rich media are also planned. The Notice

Plan will be implemented after Preliminary Approval of the Proposed Settlement, commencing

with the posting of the notice on the Court’s website. If and when Final Approval is granted, a

Settlement Class Supplemental Notice will be used to advise Settlement Class Members of the


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previously disclosed deadlines to register for participation in the Settlement, to participate in the

BAP, and to submit Claim Packages or Derivative Claim Packages.

IV.    ARGUMENT

       A.      Preliminary Approval of the Settlement Is Appropriate

       There exists a strong judicial policy favoring pretrial settlement of complex class action

lawsuits, where substantial resources can be conserved by avoiding the time, cost, and rigor of

prolonged litigation. See Ehrheart v. Verizon Wireless, 609 F.3d 590, 594 (3d Cir. 2010); In re

Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d Cir. 2004) (“[T]here is an overriding

public interest in settling class action litigation and it should therefore be encouraged.”).

Settlement is favored, in part, because of the complexity and size of class actions and the ability

of a settlement to conserve judicial resources while providing meaningful relief. See Ehrheart,

609 F.3d at 594-95 (the presumption in favor of settlement is “especially strong in class actions

and other complex cases where substantial juridical resources can be conserved by avoiding

formal litigation.”) (citation and quotation marks omitted).

       These principles were most recently reinforced forcefully by the Third Circuit in Sullivan

v. DB Investors, Inc., 667 F.3d 273, 311 (3d Cir. 2010) (en banc). There, the Third Circuit

sitting en banc recognized, especially in class actions, the “strong presumption in favor of

voluntary settlement agreements.” Id. Although Sullivan affirmed the class settlement of a

lawsuit involving antitrust claims, in his concurring opinion, Judge Scirica commented upon

personal injury class action settlements. Judge Scirica noted that in the immediate aftermath of

Amchem Prods. v. Windsor, 521 U.S. 591 (1997) and Ortiz v. Fibreboard Corp, 52 U.S. 815

(1999), personal injury class settlements were thought to be difficult to achieve. Id. at 334.

Recognizing this early reaction to Amchem to be erroneous, Judge Scirica observed anecdotally a


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movement away from class settlements.         He noted that in the Vioxx litigation, before the

Honorable Eldon E. Fallon, the parties settled personal injury claims in a fashion that was not

subject to judicial scrutiny under Rule 23. See In re Vioxx Products Liability Litig., MDL No.

1657,     Current   Developments      -   November     9,   2007    (E.D.    La.),   available   at

http://vioxx.laed.uscourts.gov/; In re Vioxx Products Liability Litig., 650 F.Supp.2d 549, 552-53

(E.D. La. 2009)(characterizing the settlement as a “voluntary opt-in agreement”). Despite the

fact that the Vioxx litigation settled on a non-class basis and the problems presented by complex

class actions post-Amchem, Judge Scirica recognized that public policy strongly supports the

resolution of mass claims, such as those presented here, on a class basis that provides the

structural, procedural and substantive guarantees of fairness. Otherwise, parties seeking to settle

mass harm claims would be forced to do so outside direct judicial supervision, contrary to the

public interest. Id. at 340.

         Proof that litigants are not seeking to avoid scrutiny under Rule 23 in connection with

personal injury claims exists within Judge Fallon’s courtroom. He recently has approved a flurry

of class actions settling personal injury claims. See In re Chinese-Manufactured Drywall Prods.

Liab. Litig., MDL No. 2047, 2013 WL 499474, *10 (E.D. La. Feb. 7, 2013) (“After considering

all available scientific evidence, the Court finds that the Global Settlement and other pending

settlements provide for personal injuries in a manner that is fair, reasonable, and adequate.”).

Before Chinese-Manufactured Drywall, Judge Fallon also had certified a similar property

damage and personal injury class action. See Turner v. Murphy Oil USA, Inc., 234 F.R.D. 597

(E.D. La. 2006).

         Indeed, one of the largest (if not, the largest and most innovative) personal injury class

actions in history occurred within the Third Circuit – In re Diet Drugs (Phentermine,


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Fenfluramine, Dexfenfluramine) Products Liability Litig., 2000 WL 1222042 (E.D. Pa. Aug. 28,

2000)(C.J. Bechtle & Bartle). The Third Circuit has referred to this multi-state personal injury

settlement as “a landmark effort to reconcile the rights of millions of individual plaintiffs with

the efficiencies and fairness of a class-based settlement.” In re Diet Drugs, 582 F.3d 524, 544 n.

37 (3d Cir. 2009). Not surprisingly, the Supreme Court in Amchem allowed for the possibility of

personal injury class actions in appropriate circumstances. See Amchem, 521 U.S. at 625 (“the

text of the Rule does not categorically exclude mass tort cases from class certification.”).13 The

structure of this multi-state personal injury class is remarkably similar to the Diet Drug

settlement, although it is by far smaller and less prolix.



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   Since Sullivan was decided, Judge Jordan, the author of the dissent in Sullivan, along with Judges Scirica and
Fisher, recently reviewed the settlement of a racial discrimination class action under the Fair Housing Act, 42 U.S.C.
§ 3605, and the Equal Credit Opportunity Act, 15 U.S.C. §1691. See Rodriguez v. National City Bank, 726 F.3d 372
(3d Cir. 2013). The Rodriguez class plaintiffs had sought to prove disparate overall impact amongst class members
by using a preliminary statistical analyses employing regression analysis of bank loans. Following a mediation, the
parties agreed to a class action settlement. The district court (Judge Robreno) preliminarily approved the class and
notice issued. Prior to final approval, however, the United States Supreme Court handed down its opinion in Wal-
Mart Stores, Inc. v. Dukes, 131 S.Ct. 2541 (U.S. 2011). The cases bore many similarities in that the facts alleged in
Rodriguez, as in Dukes, turned on the subjective decision making by multiple individual actors, rather than a
uniform policy applied by the defendant to the class as a whole. The district court, applying Dukes, found that the
allegations of the class complaint could not establish overall impact or any direct policy that applied to the class as a
whole. Nor, given the nature of the proposed proof, could the class mechanism establish discrimination by
individual loan officers. As such, the district court declined to approve the settlement or certify the class. Although
National City Bank initially supported the settlement in the district court, on appeal it switched positions and
opposed the settlement. In this unusual procedural posture, the Third Circuit considered whether the settlement was
fair, reasonable and adequate, and whether the requirements of FED. R. CIV. P. 23 had been met. Under the
deferential standard of review given to a district court decision to certify or to not certify a class, the Court of
Appeals affirmed the district court’s discretionary finding that there was insufficient evidence of commonality
presented by the class proponent’s preliminary statistical analysis. Rodriguez, 726 F.3d at 380-81. The Third
Circuit found that plaintiffs “have not shown that [the bank’s employment policy] affected all class members in all
regions and bank branches in a common way.” Id. at 385. Rodriguez and Dukes address a situation far different
from the present case. Here, unlike in Dukes or Rodriguez, the Complaint sets out claims and causes of all injuries
suffered by class members that are allegedly attributable directly to all the Defendants, with no intermediary actors
whose illegal behavior would be the ultimate source of liability. See infra at Commonality Section, at Argument
Section IV.B.1(b). The Complaint sets out the specific duties allegedly owed by the NFL, the alleged specific
breaches of those duties by the NFL, and the consequent harm suffered by the proposed Class. Those are the
common issues that define the causes of action in the Class Action Complaint, and they form the basis for the
Settlement.


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         Federal Rule of Civil Procedure 23(e) requires court approval for any compromise of a

class action. See Amchem, 521 U.S. at 617; Evans v. Jeff D., 475 U.S. 717, 726 (1986);

Sullivan, 667 F.3d at 295; In re Processed Egg Prods. Antitrust Litig. (“Processed Egg”), 284

F.R.D. 249, 259 (E.D. Pa. 2012). Approval of a class action settlement involves a two-step

process. First, counsel submits the proposed terms of settlement to the court for a preliminary

fairness evaluation. See Manual for Complex Litigation, § 21.632 (4th ed. 2004) (hereinafter

“MCL 4th”); see also 4 Alba Conte & Herbert Newberg, NEWBERG ON CLASS ACTIONS § 11:25,

at 38-39 (4th ed. 2002) (hereinafter “NEWBERG ON CLASS ACTIONS”) (endorsing two-step

process). If a preliminary evaluation of fairness is made, the second step is to conduct a formal

fairness and final approval hearing after notice has been disseminated to the settlement class

members.14 Id. At this time, Plaintiffs request only that this Court grant preliminary approval.

         As a result of the Court’s having denied without prejudice the motion for entry of the

Proposed Preliminary Approval and Class Certification Order, and having directed the parties to

work with the Special Master, the Monetary Award Fund has now been uncapped, thus adding a

level of protection for the Settlement Class Members and a level of comfort for the Court, to

insure that all those with Qualifying Diagnoses will be paid. Courts have recognized the value in

an uncapped deal. See In re Oil Spill by Oil Rig Deepwater Horizon in Gulf of Mexico, on April

20, 2010, 910 F.Supp.2d 891, 918 (E.D. La. 2012) (holding that “the claims frameworks offering

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   The fairness, reasonableness, and adequacy of the settlement are assessed in the second step of the process at a
final hearing after settlement class members have had an opportunity to opt out from or object to the settlement.
The factors considered for final approval of a class settlement include: (1) the complexity, expense and likely
duration of the litigation; (2) the reaction of the class to the settlement; (3) the stage of the proceedings and the
amount of discovery completed; (4) the risks of establishing liability; (5) the risks of establishing damages; (6) the
risks of maintaining the class action through trial; (7) the ability of the defendants to withstand a greater judgment;
(8) the range of reasonableness of the settlement fund in light of the best possible recovery; [and] (9) the range of
reasonableness of the settlement fund to a possible recovery in light of all the attendant risks of litigation. Sullivan,
667 F.3d at 319-20 (citations omitted).


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generally uncapped compensation ensure that a benefit paid to one member of the class will in no

way reduce or interfere with a benefit obtained by another member. This Settlement is not a

zero-sum game”). See also In re Deep Water Horizon, 739 F.3d 790, 796, 813 (5th Cir. 2014)

(recognizing and agreeing with district court’s assessment of the uncapped deal);15                        In re

Prudential Ins., 148 F.3d at 328.

        A court’s review of preliminary approval is less stringent than during final approval. See

Mehling v. New York Life Ins. Co., 246 F.R.D. 467, 472 (E.D. Pa. 2007); MCL 4th § 21.63

(2004) (“At the stage of preliminary approval, the questions are simpler, and the court is not

expected to, and probably should not, engage in analysis as rigorous as is appropriate for final

approval.”).     There need not be a “definitive proceeding on the fairness of the proposed

settlement,” and the court must make clear that “the determination permitting notice to members

of the class is not a finding that the settlement is fair, reasonable and adequate.” Processed Egg,

No. 08-md-02002, (E.D. Pa. July 15, 2010) (Order Preliminarily Approving Settlement at 3 n.1)

(D.E. #387) (quoting In re Mid-Atlantic Toyota Antitrust Litig., 564 F. Supp. 1379, 1384 (D. Md.

1983)); see also In re General Motors Corp. Pick-up Truck Fuel Tank Prod. Liab. Litig., 55

F.3d 768, 785 (3d Cir. 1995) (distinguishing between preliminary approval and final approval);

In re Automotive Refinishing Paint Antitrust Litig., MDL No. 1426, 2004 WL 1068807, at *1-2

(E.D. Pa. May 11, 2004) (same).

        In determining whether preliminary approval is warranted, the sole issue before the Court

is whether:

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  On March 3, 2014, the Fifth Circuit concluded that the injunction preventing the payment of claims should be
dissolved, but ordering that the injunction remains in place until the mandate of the court is issued. In re Deep
Water Horizon, 744 F.3d 370 (2014). On June 9, 2014, the application to the Supreme Court to recall and stay the
mandate was denied. BP Exploration & Production Inc. v. Lake Eugenie Land & Development, Inc., No. 13A1177,
2014 WL 2566067 (U.S. June 9, 2014).


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                  the proposed settlement discloses grounds to doubt its fairness or other
                  obvious deficiencies such as unduly preferential treatment of class
                  representatives or segments of the class, or excessive compensation of
                  attorneys, and whether it appears to fall within the range of possible
                  approval.

Mehling, 246 F.R.D. at 472 (citations omitted); Mack Trucks, Inc. v. Int’l Union, UAW, No. 07-

3737, 2011 WL 1833108, at *2 (E.D. Pa. May 12, 2011) (stating same standard); Tenuto v.

Transworld Sys., No. 99-4228, 2001 WL 1347235, at *1 (E.D. Pa. Oct. 31, 2001) (same); see

also MCL 4th § 21.633.            Under Rule 23, a settlement falls within the “range of possible

approval,” if there is a conceivable basis for presuming that the standard applied for final

approval—fairness, adequacy and reasonableness—will be satisfied. See Mehling, 246 F.R.D. at

472 (at preliminary approval stage, courts inquire as to whether “the settlement appears to fall

within the range of possible approval” under Rule 23(e)).                        In making this preliminary

determination, some courts consider whether: (1) the negotiations occurred at arm’s length;

(2) there was sufficient discovery; (3) the proponents of the settlement are experienced in similar

litigation; and (4) only a small fraction of the class objected.16 In re Linerboard Antitrust Litig.,

292 F. Supp. 2d 631, 638 (E.D. Pa. 2003); see also General Motors Corp., 55 F.3d at 785.

        Here, as explained below, there are no grounds to doubt the fairness of the proposed

Settlement and Plaintiffs, without opposition from the NFL Parties, respectfully request that this

Court preliminarily approve the proposed Settlement.




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   Although some courts list the fourth factor as part of the preliminary evaluation analysis, it is more properly
considered at the final fairness hearing, after notice to class members has been disseminated. Nonetheless, while the
total number of opt outs cannot be quantified at this time, the participation of Co-Lead Class Counsel, Class Counsel
and Subclass Counsel throughout the negotiation process protects the interests of all members of the Settlement
Class and supports the presumptive reasonableness and fairness of the Settlement and the settlement process.


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              1.      The Proposed Settlement Is the Product of Good Faith, Extensive
                      Arm’s Length Negotiations

       Whether a settlement arises from arm’s length negotiations is a key factor in deciding

whether to grant preliminary approval. See In re CIGNA Corp. Sec. Litig., No. 02-8088, 2007

WL 2071898, at *2 (E.D. Pa. July 13, 2007) (noting that a presumption of fairness exists where

parties negotiate at arm’s length, assisted by a retired federal judge who was privately retained

and served as a mediator); Gates v. Rohm & Haas Co., 248 F.R.D. 434, 439, 444 (E.D. Pa.

2008) (stressing the importance of arms-length negotiations and highlighting the fact that the

negotiations included “two full days of mediation”); In re Auto. Refinishing Paint Antitrust

Litig, MDL No. 1426, 2004 WL 1068807, at *2 (E.D. Pa. May 11, 2004) (preliminarily

approving class action settlement that “was reached after extensive arms-length negotiation

between very experienced and competent counsel”); see also NEWBERG ON CLASS ACTIONS

§ 11:41 (noting that courts usually adopt “an initial presumption of fairness when a proposed

class settlement, which was negotiated at arm’s length by counsel for the class, is presented for

court approval”). Such is the case here.

       The Settling Parties participated in settlement discussions under the auspices of retired

United States District Court Judge Layn R. Phillips. See generally Phillips Declaration (Exhibit

D to this Motion). From the beginning, the sessions involved Plaintiffs’ Co-Lead Class Counsel,

Christopher A. Seeger and Sol Weiss, and counsel for the NFL Parties. Additionally, proposed

Class Counsel, Steven C. Marks and Gene Locks, and Subclass Counsel Arnold Levin and

Dianne M. Nast, were brought into the process on behalf of Plaintiffs. Some members of the

PEC participated as well.    Toward the conclusion of the mediation process, several NFL

franchise owners, representing the NFL team owners collectively, and the Commissioner of the



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NFL, also were brought into the process. At all times, the negotiations were conducted at arm’s

length and sometimes the negotiations were quite contentious.

          In addition to the Parties within the litigation, multiple consultants were brought in to

flesh out the details of an agreement as part of the settlement process. The Settling Parties each

retained multiple medical, actuarial, and economic experts to determine, develop and test an

appropriate settlement framework to meet the needs of Retired NFL Football Players suffering

from, or at risk for, the claimed injuries. The Settling Parties discussed settlement structures,

baseline testing, and injury categories during the negotiations.

          Judge Phillips guided the Settling Parties through a grueling mediation period of nearly

two months, during which the Parties attended numerous mediation sessions, and aggressively

asserted their respective positions.       Although amicable, the discussions were at times

contentious, and both sides often required Judge Phillips’ input in order to resolve contested

issues.    See Phillips Declaration, at ¶¶ 5-6.    In the end, the Settling Parties arrived at an

agreement in principal during hard-fought, contentious and arm’s length negotiations.

          Further, the Court appointed Special Master Golkin in December of 2013 and, following

the denial without prejudice of the prior motion for preliminary approval, tasked the Special

Master with reviewing the analyses conducted by the actuarial consultants concerning the

sufficiency of the then fixed amount of the Monetary Award Fund. Through this process, despite

the Parties’ confidence in the analyses by the actuarial consultants, in order to guarantee payment

in the case of unpredictable events, the parties worked to reach the current Settlement Agreement

with an uncapped Monetary Award Fund.




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                  2.       The Investigation of Both Plaintiffs’ Claims and the NFL Parties’
                           Defenses Supports Preliminary Approval

         Although the Settling Parties have not reached the discovery stage of litigation,17

proposed Co-Lead Class Counsel, Class Counsel and Subclass Counsel possess adequate

information concerning the strengths and weaknesses of the litigation against the NFL Parties.

Proposed Co-Lead Class Counsel, Class Counsel and Subclass Counsel thoroughly investigated

the claims brought in the Class Action Complaint, researched and briefed opposition papers in

response to the NFL Parties’ motions to dismiss on preemption grounds, and exchanged

information with the NFL Parties during negotiation and mediation sessions, including expert

calculations of damages and Settlement Class Members’ injuries. As discussed more fully infra,

the significant legal challenges for each side, should the litigation continue, support preliminary

approval of the proposed Settlement. Proposed Co-Lead Class Counsel, Class Counsel and

Subclass Counsel are especially cognizant of the toll imposed upon the plaintiff client base by

continued prosecution of litigation towards an uncertain result, in contrast to the certitude

presented by the proposed Settlement. This factor is a significant incentive to resolve the

litigation.

         In addition, the proponents of the Settlement are highly experienced in complex class

action litigation. The Class and Subclasses are represented by lawyers who have extensive

complex class action experience. Proposed Co-Lead Class Counsel, Christopher A. Seeger of
17
  Courts have preliminarily approved class action settlements where the litigation is in its early stages and minimal
discovery has occurred. See In re Processed Egg Prods. Antitrust Litig., 284 F.R.D. 249, 267 (E.D. Pa. 2012)
(preliminarily approving class action settlement when “no formal discovery was conducted in this case during the
time of the . . . Settlement negotiations or agreement[.]”); Gates v. Rohm & Haas Co., 248 F.R.D. 434, 444 (E.D.
Pa. 2008) (preliminarily approving class settlement when parties had not yet conducted discovery on the merits).
See also Barani v. Wells Fargo Bank, N.A., 2014 WL 1389329, at *5 (S.D. Cal. Apr. 9, 2014)(“In regards to class
action settlements, ‘formal discovery is not a necessary ticket to the bargaining table where the parties have
sufficient information to make an informed decision about settlement.’”) (quoting Linney v. Cellular Alaska P'ship,
151 F.3d 1234, 1239 (9th Cir. 1998)).


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Seeger Weiss LLP, and Sol Weiss of Anapol Schwartz, Class Counsel, Gene Locks of Locks

Law Firm, and Steven C. Marks of Podhurst Orseck P.A., and Subclass Counsel, Arnold Levin

of Levin Fishbein Sedran & Berman and Dianne M. Nast of Nast Law LLC, are all members of

the court-appointed PEC and/or the Steering Committee. The Court is familiar with each

counsel’s experience after the vetting process of the appointment of counsel. They are highly

competent counsel, each with decades of experience litigating complex class action and

multidistrict cases.

                 3.       There Is No Preferential Treatment of Certain Settlement Class
                          Members and Class Representatives Support the Settlement

        Although formal notice of the Settlement has not yet been disseminated, and, therefore,

no formal objections have been made, the proposed Settlement treats all Settlement Class

Members fairly and does not provide undue preferential treatment to any individual Settlement

Class Member or Subclass Member. The Settlement Class Members—composed of: (1) all

Retired NFL Football Players; (2) the legal representatives of deceased, incompetent or

incapacitated Retired NFL Football Players; and (3) family members or others with a legal right

to sue independently or derivatively based on their relationship to the Retired NFL Football

Player—are readily ascertainable and identifiable using objective criteria.18 All Settlement Class

Members are invited to be part of the Settlement Class and no interests are excluded.

        Moreover, the Settling Parties created two Subclasses, each with its own representation

during the Settlement negotiations to ensure that all Settlement Class Members’ interests were

protected. Subclass 1 includes Retired NFL Football Players who were not diagnosed with a

18
     This Class definition complies with the requirements of the Third Circuit’s recent decision in Carrera v. Bayer
Corp., 727 F.3d 300, 306 (3d Cir. 2013), and Marcus v. BMW of North America, LLC, 687 F.3d 583, 593 (3d Cir.
2012). This is not a case where “class members are impossible to identify without extensive and individualized fact-
finding or ‘mini-trials[.]’” Marcus, 687 F.3d at 593.


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Qualifying Diagnosis prior to the date of the Preliminary Approval and Class Certification Order,

and their Representative and Derivative Claimants. Subclass 2 includes Retired NFL Football

Players who were diagnosed with a Qualifying Diagnosis prior to the Preliminary Approval and

Class Certification Order and their Representative and Derivative Claimants, and the

Representative Claimants of deceased Retired NFL Football Players who were diagnosed with a

Qualifying Diagnoses prior to death or who died prior to the date of the Preliminary Approval

and Class Certification Order and who received a post-mortem diagnosis of CTE. Subclass

Counsel for the separate subclasses ensure that their respective clients’ interests were protected

and that currently diagnosed players were not favored over retired players without a diagnosis

who may not develop diagnosable injuries (if ever) until years in the future (or vice versa).

               4.      There Are No Other “Obvious Deficiencies” To Cast Doubt on the
                       Proposed Settlement’s Fairness

       As explained above, the complexity, expense, uncertainty, and likely duration of the

litigation militate in favor of completing the settlement process. The Settlement defines a clearly

identifiable and ascertainable Settlement Class, contains the material economic terms of the

agreement, the manner and form of notice to be given to the Settlement Class, the contingencies

or conditions to the Settlement’s final approval, and other relevant terms. Moreover, the NFL

Parties have agreed not to object to the mediator’s proposal of a maximum class attorneys’ fee

and reasonably incurred costs award of $112.5 million in addition to the amounts that the NFL

Parties will pay to fund the Monetary Award Fund (previously capped at $675 million), up to

$75 million for the BAP Fund, $10 million for the Education Fund, and costs for Class Notice,

including certain administrative costs funded via the Monetary Award Fund or the BAP. See

NEWBERG ON CLASS ACTIONS § 14:6 (indicating that attorneys’ fees of between 22% and 33% is



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normal for common fund cases); Tenuto, 2001 U.S. Dist. LEXIS 17694 at *4 (preliminarily

approving class action settlement where attorneys’ fees were 30% of the fund); In re Smithkline

Beckman Corp. Sec. Litig., 751 F. Supp. 525, 533 (E.D. Pa. 1990) (noting that the general range

of attorneys’ fees in common fund cases is 19% to 45%). The payment by the NFL Parties of

attorneys’ fees in addition to the Settlement Fund is a significant benefit to Settlement Class

Members. The Court retains the final authority to determine the ultimate attorneys’ fee and cost

award.

         B.       The Settlement Class and Subclasses Should Be Conditionally19 Certified for
                  Settlement Purposes

         Class actions certified in conjunction with settlements are well recognized. See, e.g.,

Sullivan, 667 F.3d at 311; Processed Egg, 284 F.R.D. at 253-54. The Court must consider

whether the settlement class proposed is appropriate under FED. R. CIV. P. 23. See Amchem, 521

U.S. at 620; Rodriguez v. City National Bank, 726 F.3d 372, 380 (3d Cir. 2013); In re Warfarin

Sodium Antitrust Litig., 391 F.3d 516, 527 (3d Cir. 2004); Sullivan, 667 F.3d at 296; Processed

Egg, 284 F.R.D. at 253-54. The Manual for Complex Litigation (Fourth) advises that in cases

presented for both preliminary approval and class certification, the “judge should make a

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  We recognize that the 2003 Amendment to Rule 23(c) deleted the provision that a class certification “may be
conditional.” Nevertheless, district courts have continued to entertain and grant conditional or provisional class
certification in the settlement context on preliminary approval and appellate courts have affirmed same, as long as
the requisite “rigorous analysis” was conducted. See, e.g., In re Chinese-Manufactured Prods. Liab. Litig., 2012
WL 92498 (E.D. La. Jan. 10, 2012) (conditionally certifying settlement class); Collins v. Cargill Meat Solutions,
Corp., 274 F.R.D. 294, 304 (E.D. Calif. 2011) (“Settlement Class is conditionally certified”); Davis v. J.P. Morgan
Chase & Co., 775 F. Supp.2d 601, 608 (W.D.N.Y. 2011) (“a district court may conditionally certify a class under
Rule 23, provided that the requirements of Rule 23(a) and (b) are met.”); In re Checking Account Overdraft Litig.,
2011 WL 2258458, *5 (S.D. Fla. 2011) (“At the preliminary approval stage, the Court's task is to evaluate whether
the Settlement is within the ‘range of reasonableness’”); Jones v. Casey’s General Stores, Inc., 266 F.R.D. 222,
226-27 (S.D. Iowa 2009) (having found “that the class and collective ‘meets the requirements for certification under
Fed.R.Civ.P. 23 in the settlement context[,]’ ... the Court conditionally approved the Settlement Class”); In re
Wireless Facilities, Inc. Secs. Litig. II, 253 F.R.D. 607, 610 (S.D. Ca. 2008) (“Parties may settle a class action before
class certification and stipulate that a defined class be conditionally certified for settlement purposes.”); In re Motor
Fuel Temperature Sales Practices Litig., 258 F.R.D. 671, 683 (D. Kan. 2008).


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preliminary determination that the proposed class satisfies the criteria set out in Rule 23(a) and at

least one of the subsections of Rule 23(b).” MCL 4th, § 21.632.

       Under Rule 23, Plaintiffs must demonstrate that: (1) the class is so numerous that joinder

of all members is impracticable; (2) there are questions of law or fact common to the class;

(3) the claims or defenses of the representative parties are typical of the claims or defense of the

class; and (4) the representative parties will fairly and adequately protect the interests of the

class. The court is to apply a “rigorous analysis” to insure that each of the requirements of Rule

23 are met. See Sullivan, 667 F.3d at 306. However, when a court is “[c]onfronted with a

request for settlement-only class certification, a district court need not inquire whether the case,

if tried, would present intractable management problems . . . for the proposal is that there be no

trial.” Amchem, 521 U.S. at 620; see also Sullivan, 667 F.3d at 322 n.56 (same). Rule 23(b)(3)

requires that “questions of law or fact common to class members predominate over any questions

affecting only individual members, and that a class action is superior to other available methods

for fairly and efficiently adjudicating the controversy.” FED. R. CIV. P. 23(b)(3). Under the

rigorous analysis standard, the Settlement easily meets each of the requirements of Rule 23(a)

and Rule 23(b)(3) for the proposed Settlement Class and Subclasses.

               1.      The Settlement Class and Subclasses Meet the Requirements
                       Under Rule 23(a)

                       a)      Numerosity

       Rule 23(a)(1) requires that a class be “so numerous that their joinder before the Court

would be impracticable.” In re Blood Reagents Antitrust Litig., 283 F.R.D. 222, 232 (E.D. Pa.

2012). In these MDL proceedings, thousands of Retired NFL Football Players have filed suit

against the NFL Parties alleging entitlement to damages for injuries sustained as a result of



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traumatic head impacts, including concussions, received during their NFL Football careers,

and/or medical assessments to determine whether they have suffered any cognitive impairment.

There are over 20,000 Settlement Class Members, including Retired NFL Football Players,

Representative Claimants, and Derivative Claimants based upon the records of the NFL Parties.

The numerosity requirement of Rule 23(a) is, therefore, easily met here.              See Stewart v.

Abraham, 275 F.3d 220, 227-28 (3d Cir. 2001) (noting that there is no minimum number to

satisfy numerosity and observing that generally requirement is met if potential number of

plaintiffs exceeds 40).

                          b)   Commonality

       FED. R. CIV. P. 23(a)(2) requires a showing of the existence of “questions of law or fact

common to the class.” “A finding of commonality does not require that all class members share

identical claims.”   In re Warfarin, 391 F.3d at 530 (citation and internal quotation marks

omitted). Indeed, the commonality element requires only that plaintiffs “share at least one

question of fact or law with the grievances of the prospective class.” Id. at 527-28 (citations

omitted). Following the Supreme Court’s decision in Wal-Mart Stores, Inc. v. Dukes, it remains

the case that “even a single common question will do.” 131 S.Ct. 2541, 2556 (U.S. 2011)

(internal quotation marks and alterations omitted).

       As per Dukes, to satisfy Rule 23’s commonality requirement, class claims “must depend

upon a common contention ... of such a nature that it is capable of classwide resolution—which

means that determination of its truth or falsity will resolve an issue that is central to the validity

of each one of the claims in one stroke.” 131 S. Ct. at 2551. The Supreme Court explained that

the key consideration in assessing commonality is not whether the class raises common claims,




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but whether a class action can “generate common answers apt to drive the resolution of the

litigation.” Id.

        Applying these principles, it is evident that the commonality requirement of

Rule 23(a)(2) is easily met here. Questions and answers surrounding the dangers of playing NFL

Football, the impairment of cognitive abilities caused by concussions, and the knowledge of the

NFL Parties as to the health risks presented by football-related impacts to the head are common

to Plaintiffs and the other members of the Settlement Class, thereby satisfying Rule 23(a)(2)’s

commonality requirement. See In re School Asbestos Litig., 789 F.2d 996, 1009 (3d Cir.), cert.

denied, 479 U.S. 852 (1986) (affirming commonality based upon common factual issues such as

“the health hazards of asbestos, the defendants’ knowledge of those dangers, the failure to warn

or test, and the defendants’ concert of action or conspiracy in the formation of and adherence to

industry practices. The court also believed that the proof of these matters would not vary widely

from one class member to another.”).

        The Supreme Court in Dukes reversed certification of a class of female employees who

asserted Wal-Mart engaged in a discriminatory pattern of conduct, reasoning that Wal–Mart’s

decision to give local supervisors discretion over employment matters “is just the opposite of a

uniform employment practice that would provide the commonality needed for a class action.”

131 S.Ct. at 2554. In contrast, in this case the NFL Parties voluntarily undertook to study head

impacts in football, when they formed the Mild Traumatic Brain Injury Committee (“MTBI

Committee”). Plaintiffs allege that the NFL Parties used the MTBI Committee to fraudulently

conceal and to affirmatively misrepresent the long-term effects of these injuries. The answer to

the question whether the NFL Parties engaged in such fraudulent concealment and/or affirmative

misrepresentation is an answer which would drive the resolution of the litigation – it is central to


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the validity of the claims. See id. at 2551 (Plaintiffs’ “claims must depend upon a common

contention—for example, the assertion of discriminatory bias on the part of the same supervisor.

That common contention, moreover, must be of such a nature that it is capable of classwide

resolution—which means that determination of its truth or falsity will resolve an issue that is

central to the validity of each one of the claims in one stroke.”). Thus, commonality is satisfied.

                       c)      Typicality

       FED. R. CIV. P. 23(a)(3) requires that the class representatives’ claims be “typical of the

claims . . . of the class.” As the Third Circuit explained:

               The typicality inquiry is intended to assess whether the action can be
               efficiently maintained as a class and whether the named plaintiffs have
               incentives that align with those of absent class members so as to assure
               that the absentees’ interests will be fairly represented.

Baby Neal v. Casey, 43 F.3d 48, 57-58 (3d Cir. 1994); see also In re Warfarin, 391 F.3d at 532

(finding typicality prong met where “claims of representative plaintiffs arise from the same

alleged wrongful conduct”); In re Blood Reagents, 283 F.R.D. at 233 (“If a plaintiff’s claim

arises from the same event, practice or course of conduct that gives rises to the claims of the

class members, factual differences will not render that claim atypical if it is based on the same

legal theory as the claims of the class.”) (citation and quotation marks omitted). “The typicality

criterion focuses on whether there exists a relationship between the plaintiff’s claims and the

claims alleged on behalf of the class.” NEWBERG ON CLASS ACTIONS§ 3:13.

       Plaintiff Class Representatives meet the typicality prong. Shawn Wooden is a Retired

NFL Football Player who has not been diagnosed with a Qualifying Diagnosis and is a

representative of Subclass 1. He has sued the NFL Parties seeking medical monitoring in the

form of baseline assessment screening to determine whether he has any neurocognitive



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impairment owing to his years of playing NFL Football. If he is diagnosed with a Qualifying

Diagnosis in the future, he will seek a Monetary Award.

        Kevin Turner is a Retired NFL Football Player who has been diagnosed with ALS. He

played eight seasons in the NFL. He is a representative of Subclass 2 and seeks compensation

from the NFL Parties for his injuries.

        Both of the Subclass Representatives seek to hold the NFL Parties liable for damages

resulting from the NFL Parties’ alleged failure to warn and concealment of the dangers of NFL

Football. Their claims are typical of the other Settlement Class Members in their respective

Subclasses.

                       d)      Adequacy of Representation

        FED. R. CIV. P. 23(a)(4) requires representative parties to “fairly and adequately protect

the interests of the class.” This requirement “seeks to uncover conflicts of interest between the

named parties and the class they seek to represent.” In re Warfarin, 391 F.3d at 532. This

requirement is satisfied here, as the named Plaintiffs vigorously have pursued the claims of the

Settlement Class and the Subclass they purport to represent, and there is no disabling intra-class

conflict.

        The named Plaintiffs’ interests are aligned with those of the Settlement Class and their

respective Subclasses.      Plaintiffs have filed the Class Action Complaint to seek baseline

assessment examinations and compensation for their neurocognitive injuries and damages.

These claims are co-extensive with those of the absent Settlement Class Members.              All

Settlement Class Members, like Plaintiffs, share an interest in obtaining redress from the NFL

Parties for their alleged negligence and fraud. And all Settlement Class Members who are

Retired NFL Football Players, like Plaintiffs, have suffered repetitive blows to the head as NFL


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Football players, and have alleged a heightened risk of developing severe neurocognitive

impairments as a result of those repetitive blows. Thus, the interests of all Settlement Class

Members – including those with a present Qualifying Diagnosis and those at risk of developing

significant neurocognitive impairment in the future – have been accounted for through the

Settlement’s BAP Fund and Monetary Award Fund.

       Additionally, all eligible Settlement Class Members who timely and properly register

under the Settlement Agreement may participate in the BAP and, if applicable, seek Monetary

Awards or Derivative Claimant Awards. The award amount paid to any one Settlement Class

Member has no bearing on the amount payable to any other (except between Derivative

Claimants if there are is more than one asserting a valid claim based on the same Retired NFL

Football Player). This is particularly true now that the MAF is uncapped – there is no danger of

the fund being depleted before the youngest Class Members develop Qualifying Diagnoses. That

the Monetary Award Grid, at Exhibit 3 to the Settlement Agreement, provides for different

levels of compensation for different impairments “is simply a reflection of the extent of the

injury that certain class members incurred and does not clearly suggest that class members ha[ve]

antagonistic interests.” In re Insurance Brokerage Antitrust Litig., 579 F.3d 241, 272 (3d Cir.

2009); see also Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1146 (8th Cir. 1999) (“[A]lmost

every settlement will involve different awards for various class members.”); In re Serzone

Prods. Liab. Litig., 231 F.R.D. 221, 239 (S.D. W.Va. 2005) (“By nature of the settlement, the

parties have negotiated values to assign to claims based on the severity of physical injury. [The

Court] do[es] not consider the assignment of a lower value to claims where injuries are less

serious to be evidence of conflict.”).




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       Moreover, unlike the failed settlements in Amchem Prods. v. Windsor, 521 U.S. 591

(1997), and Ortiz v. Fibreboard Corp., 527 U.S. 815 (1999), the proposed Settlement here

provides “structural assurance of fair and adequate representation for the diverse groups and

individuals affected.” Amchem, 521 U.S. at 627. By dividing the Settlement Class into two

Subclasses and providing each Subclass with its own counsel, the Settlement has cured any

antagonism that may exist between the interests of those Settlement Class Members who have

already been diagnosed with a Qualifying Diagnosis (Subclass 2) and those who have not

(Subclass 1). See In re Inter-Op Hip Prosthesis Liab. Litig., 204 F.R.D. 330 (N.D. Ohio 2001)

(holding that subclasses cured potential intra-class conflict); cf. Dewey v. Volkswagen

Aktiengsellschaft, 681 F.3d 170, 189-90 (3d Cir. 2012) (holding that dividing class into

subclasses on remand would satisfy adequacy requirement).

       Also, the Settlement further protects the interests of those who may develop severe

neurocognitive impairments in the future by: (i) creating a Monetary Award Fund that is not

capped; (ii) indexing the Monetary Awards for inflation; and (iii) providing eligible Settlement

Class Members with Supplemental Monetary Awards, if and when they are diagnosed with

additional Qualifying Diagnoses. See In re Diet Drugs Prods. Liab. Litig., No. 1203, 99-20593,

2000 WL 1222042, *49 (E.D. Pa. Aug. 28, 2000) (holding that “step-up” provision and inflation

indexing provided adequate structural protections), aff’d without opinion, 275 F.3d 34 (3d Cir.

2001); see also In re Diet Drugs Prods. Liab. Litig., 431 F.3d 141, 147 (3d Cir. 2005) (“The

District Court specifically found that this Settlement Agreement includes structural protections to

protect class members with varying diagnoses, pointing to the ability of a particular class

member to ‘step up’ to higher compensation levels as their disease progresses.”).




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       In addition, since all Settlement Class Members who are Retired NFL Football Players,

are aware, of course, that they suffered impacts to the head while playing NFL Football, and the

identities of over 20,000 potential Settlement Class Members are already known, Class Members

are readily ascertainable, can be notified effectively, and can make informed decisions about

whether to opt out of the Settlement Class. Consequently, they stand in sharp contrast to the

conflicting, amorphous, and sprawling classes in Amchem and Ortiz, who numbered in the tens

of millions, could not be identified in advance, and might well have been unaware that materials

in their homes or workplaces contained the asbestos at issue in those actions. See Denney v.

Deutsche Bank AG, 443 F.3d 253, 269 (2d Cir. 2006) (distinguishing Amchem on the grounds

that “all members of the [class at issue] have been identified, have been given notice of the

settlement, and have had the opportunity to voice objections or to opt out entirely”); Diet Drugs,

2000 WL 1222042 at *46 (holding that there was no Amchem “futures” problem because “all

class members are aware of their exposure to [the subject drugs]”).

       Indeed, unlike Amchem, where the settlement class included members who were exposed

to different asbestos-containing products, for different amounts of time, in different ways, and

over different periods, and who may not even have been aware they were exposed, and some

who suffered no physical injury or had only asymptomatic pleural changes, and did not have

lung cancer, asbestosis or mesothelioma, the proposed Settlement Class here has a great deal of

cohesion as all Retired NFL Football Players and their families are aware they played NFL

Football. The Plaintiffs and Settlement Class Members all allege that their injuries arise from

one cause (head impact while playing football), involving the NFL Parties and/or Member Clubs,

over a defined period of time, and render them at increased risk of suffering only certain,

particular types of injuries. And, all Settlement Class Members raise the same claims within


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their respective Subclasses. Thus, unlike in Amchem, the named Class Representatives’ interests

here are closely aligned with those of the Settlement Class, such that fair and adequate

representation can be ensured and sufficient unity exists for settlement class certification

purposes. Compare Amchem, 521 U.S. at 626.20

                  2.       Common Questions of Law and Fact Predominate and the
                           Superiority Requirement Is Met

         In order to satisfy Rule 23(b)(3)’s requirement that common questions of law and fact

predominate, “the predominance test asks whether a class suit for the unitary adjudication of

common issues is economical and efficient in the context of all the issues in the suit.” NEWBERG

ON   CLASS ACTIONS § 4:25;               see also Amchem, 521 U.S. at 623 (“The Rule 23(b)(3)

predominance inquiry tests whether proposed classes are sufficiently cohesive to warrant

adjudication by representation.”) (citing 7A Wright, Miller, & Kane 518-19); In re Warfarin,

391 F.3d at 527-28; Sullivan, 667 F.3d at 297.

         Plaintiffs contend that the issues surrounding the NFL Parties’ alleged liability for the

injuries suffered by Settlement Class Members predominate over any individual issues involving


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    The facts underlying the proposed Settlement are analogous to those of other cases in which courts have held that
settlements complied with the adequacy concerns of Amchem. For example, in In re Countrywide Financial Corp.
Customer Data Sec. Breach Litig., No. 3:08-MD-01998, 2009 WL 5184352 (W.D. Ky. Dec. 22, 2009), mortgage
customers brought a nationwide class action alleging consumer law violations based on Countrywide’s failure to
secure their personal financial information, which resulted in a theft of that information from a database by a
Countrywide employee. In challenging the proposed settlement, some of the objectors argued that there was an
inherent conflict of interest between presently injured plaintiffs (i.e., plaintiffs who had been victims of identity
theft) with uninjured plaintiffs or “future” plaintiffs, and that these future plaintiffs were not adequately represented
in the settlement negotiations. Id. at *4. The objectors argued that, like in Amchem, the settlement would bind
persons who may experience future identity theft, and that the interests of these future plaintiffs were, therefore, not
adequately represented. Id. The court disagreed, noting that the “representative Class Members ... possess the same
interests as all other members of the class. All class members have been subjected to the same alleged conduct by
Countrywide whereby private information was compromised, and the impact of this conduct has already or possibly
will produce a similar result for all members. The Court does not shy away from the fact that, at present, not all
class members have suffered the same injury. But unlike an asbestos mass tort action where unknown plaintiffs may
develop symptoms decades later, this action involves an objectively identifiable class. Class members who are
fearful of the possibility of future identity theft will have been given notice of the settlement and have the
opportunity to opt out.” Id. at *5 (emphasis added).

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the Plaintiffs. These predominating common questions of fact easily comport with Dukes, supra.

In this case, the class action vehicle is best suited for the resolution of Plaintiffs’ and the other

Settlement Class Members’ claims. Plaintiffs’ claims for compensatory relief and medical

monitoring are founded upon a common legal theory related to the singular body of facts

concerning the NFL Parties’ knowledge and alleged concealment of the dangers that concussions

in football pose to NFL Football players. See Amgen Inc. v. Connecticut Retirement Plans &

Trust Funds, 133 S.Ct. 1184, 1191 (2013) (“Rule 23(b)(3) requires a showing that questions

common to the class predominate, not that those questions will be answered, on the merits, in

favor of the class. Because materiality is judged according to an objective standard, the

materiality of Amgen’s alleged misrepresentations and omissions is a question common to all

members of the class ….”). A class settlement will insure that a fully developed, well-designed

claims process exists to compensate Plaintiffs and other Settlement Class Members for their

damages.

       The recent Supreme Court decision in Comcast Corp. v. Behrend, 133 S. Ct. 1426 (U.S.

2013), wherein class certification was reversed based on a lack of predominance of common

questions, does not bear on the determination of predominance in this case. In Comcast, the

district court certified a liability and damages class under Rules 23(a) & (b)(3) comprised of

more than two million current and former Comcast subscribers who sought damages for alleged

violations of federal antitrust laws. Id. at 1429–31. Although the plaintiffs proposed four

different theories of antitrust impact, the district court found that only one could be proved in a

manner common to all class plaintiffs: the theory that “Comcast engaged in anticompetitive

clustering conduct, the effect of which was to deter the entry of overbuilders in the Philadelphia”

area. Id. at 1430–31 & n. 3. The plaintiffs’ expert calculated damages for the entire class,


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however, using a model that failed to isolate the damages resulting from the one theory of

antitrust impact the district court had allowed to proceed. Id. The district court nonetheless

certified the class, finding that the damages related to the allowed theory could be calculated on a

classwide basis. Id. at 1431. The Third Circuit affirmed. Id. The Supreme Court reversed in a

decision that it described as turning “on the straightforward application of class-certification

principles.” Id. at 1433. Because the plaintiffs would be entitled to damages resulting only from

the allowed liability theory if they were to prevail on the merits, the Court instructed that the

“model purporting to serve as evidence of damages ... must measure only those damages

attributable to that theory. If the model does not even attempt to do that, it cannot possibly

establish that damages are susceptible of measurement across the entire class for purposes of

Rule 23(b)(3).” Id. at 1433.

       Neither the Third Circuit nor the district court in Comcast had required the plaintiffs to

link each liability theory to a damages calculation because, those courts reasoned, doing so

would necessitate inquiry into the merits, which had no place in the class certification decision.

Id. The Supreme Court rejected that analysis as contradictory to Dukes, 131 S.Ct. at 2551–52 &

n. 6, and as improperly permitting plaintiffs to offer any method of damages measurement, no

matter how arbitrary, at the class-certification stage, thereby reducing the predominance

requirement of Rule 23(b)(3) “to a nullity.” Comcast, 133 S.Ct. at 1433. Due to the model's

inability to distinguish damages attributable to the allowed theory of liability, the Supreme Court

ruled that the predominance prerequisite of Rule 23(b)(3) did not warrant certification of a class.

Id. at 1435. Accordingly, the Supreme Court reversed the certification order. Id.

       A litigation class was being sought in Comcast and the district court had certified a class

to determine both liability and damages. In contrast, a settlement class is being sought herein.


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Further, one of the advantages of this proposed Settlement is that the Settlement Class Members

will not have to prove causation, as they were required to do in Comcast.             Further, the

determination of damages in this case will be done through a separate process, with

determinations as to the Qualifying Diagnoses by the BAP Providers and/or MAF Physicians,

which along with the facts as to the Retired NFL Football Player’s age and Eligible Seasons of

play, will dictate where the Class Member falls within the Monetary Award Grid and determine,

after any other Offsets, the amount of recoverable damages. Therefore, this case cannot be

likened to Comcast wherein damages were being determined on a collective basis, as is typical in

antitrust cases.

        More recently, on remand from the Supreme Court directing that the decision in

Comcast, supra, be addressed, the Honorable Richard Posner discussed the notion and

significance of a separate determination of damages in Butler v. Sears, Roebuck and Co., 727

F.3d 796 (7th Cir. 2013):

        It would drive a stake through the heart of the class action device, in cases in
        which damages were sought rather than an injunction or a declaratory judgment,
        to require that every member of the class have identical damages. If the issues of
        liability are genuinely common issues, and the damages of individual class
        members can be readily determined in individual hearings, in settlement
        negotiations, or by creation of subclasses, the fact that damages are not identical
        across all class members should not preclude class certification. Otherwise
        defendants would be able to escape liability for tortious harms of enormous
        aggregate magnitude but so widely distributed as not to be remediable in
        individual suits.

Id. at 801 (determining, in consumer breach of warranty class action against manufacturer of

washing machines, that common questions of law or fact predominated over questions affecting

only individual class members and certifying mold defect class and sudden stoppage class). See

In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig., 722 F.3d 838 (6th Cir. 2013)



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(“Where determinations on liability and damages have been bifurcated … the decision in

Comcast—to reject certification of a liability and damages class because plaintiffs failed to

establish that damages could be measured on a classwide basis—has limited application. To the

extent that Comcast ... reaffirms the settled rule that liability issues relating to injury must be

susceptible of proof on a classwide basis to meet the predominance standard, our opinion

thoroughly demonstrates why that requirement is met in this case.”); McReynolds v. Merrill

Lynch, Pierce, Fenner & Smith, Inc., 672 F.3d 482, 491-92 (7th Cir. 2012) (distinguishing Dukes,

and determining that a class action limited to determining liability on a class-wide basis, with

separate hearing to determine – if liability is established – the damages of individual class

members, or homogeneous groups of class members, is permitted by Rule 23(c)(4) and will often

be the way to proceed).

         In addition to the predominance requirement, Rule 23(b)(3) requires that the class action

device be superior to other methods of adjudication. Factors the court may consider include:

         (A)      the interest of members of the class in individually controlling the prosecution or

                  defense of separate actions;

         (B)      the extent and nature of any litigation concerning the controversy already

                  commenced by or against members of the class;

         (C)      the desirability or undesirability of concentrating the litigation of the claims in the

                  particular forum; and

         (D)      the difficulties likely to be encountered in the management of a class action.21

FED. R. CIV. P. 23(b)(3)(A)-(D).

21
   As stated earlier, any difficulties of management of this Settlement Class need not be considered when the Court
is confronted with a request for settlement-only class certification because the proposal is that there be no trial. See
Amchem, 521 U.S. at 620; Sullivan, 667 F.3d at 322 n.56.


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       Courts have recognized the benefits of “concentrating the litigation of claims in a single

superior forum,” rather than requiring “numerous individual suits brought by claimants.”

Sullivan, 667 F.3d at 311-12; see also Amalgamated Workers Union of Virgin Islands v. Hess

Oil Virgin Islands Corp., 478 F.2d 540, 543 (3d Cir. 1973) (“The ‘superiority requirement’ was

intended to refer to the preferability of adjudicating claims of multiple-parties in one judicial

proceeding and in one forum, rather than forcing each plaintiff to proceed by separate suit, and

possibly requiring a defendant to answer suits growing out of one incident in geographically

separated courts.”).

       Moreover, in light of the JPML’s Order transferring these cases and consolidating them

before this Court pursuant to 28 U.S.C. § 1407, “[t]his factor should . . . be of little or no

significance in resolving the superiority issue.” NEWBERG ON CLASS ACTIONS, § 4:31. The

JPML previously considered, pursuant to 28 U.S.C. § 1407, the desirability of centralizing the

various concussion injury suits against the NFL Parties in this particular forum.

       In this case, Plaintiffs contend that it makes good sense to resolve promptly the claims

against the Released Parties in this forum through the class action device. Given the thousands

of suits already commenced against the Released Parties in federal and state courts, approval of

the Settlement and resolution of all concussion injury claims against the Released Parties in this

forum benefits all Parties.    Further, a class action suit is superior to any other form of

adjudication because it provides the best way of managing and resolving the claims at issue here.

“The superiority requirement asks the court to balance, in terms of fairness and efficiency, the

merits of a class action against those of alternative available methods of adjudication.” In re

Warfarin, 391 F.3d at 533-34 (citation and quotation marks omitted).




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       Consideration of judicial economy and prompt resolution of claims underscore the

superiority of the class action in this case. Should each of the cases filed by Plaintiffs against the

NFL Parties be litigated individually, the Parties could face decades of litigation and significant

expense in many different state and federal courts throughout the country, potentially resulting in

conflicting rulings.   In addition, compensation resulting from litigation is highly uncertain,

especially given the preemption issue at stake in this case, and may not be received, in any event,

before lengthy and costly trial and appellate proceedings are complete. Moreover, the Settlement

removes the overwhelming and redundant costs of individual trials. See Sullivan, 667 F.3d at

310-12.

       In sum, the requirements of Rule 23 are readily satisfied at this preliminary stage and

certification of the Settlement Class and Subclasses is appropriate.

       C.      Plaintiffs Faced Significant Challenges and Obstacles in the Litigation

       Plaintiffs faced stiff and complex challenges in the litigation. See Phillips Decl. at ¶12.

Their claims could have been dismissed in their entirety or drastically reduced on the basis of the

NFL Parties’ threshold legal arguments and defenses. Whether Plaintiffs could have maintained

their claims and met their burden of proof when faced with a number of the arguments

summarized below was a significant consideration in agreeing to the proposed Settlement

Agreement.

               1.      Preemption

       Plaintiffs’ claims were at risk due to the NFL Parties’ threshold legal argument that

federal labor law precludes the litigation of Plaintiffs’ claims in court. See Phillips Decl. at ¶13.

In particular, in the Motions to Dismiss the Master Administrative Class Action Complaint and

the Amended Master Administrative Long-Form Complaint on Preemption Grounds, the NFL


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Parties claimed that Section 301 of the Labor Management Relations Act (“LMRA”) mandates

the preemption of all state-law claims—whether based in negligence or fraud—whose resolution

is substantially dependent upon or inextricably intertwined with the terms of a Collective

Bargaining Agreement (“CBA”), or that arise under the CBA. See 29 U.S.C. §185(a) (codifying

Section 301(a)); see also Allis-Chalmers Corp. v. Lueck, 471 U.S. 202, 220 (1985). Citing

decisions from courts around the country, the NFL Parties contended that resolution of Plaintiffs’

claims would substantially depend upon interpretations of the terms of the CBAs and that

Plaintiffs’ claims arose under the CBA. See, e.g., Duerson v. National Football League, No. 12-

C-2513, 2012 WL 1658353 (N.D. Ill. May 11, 2012); Maxwell v. National Football League,

Civ. No. 11-08394, Order (C.D. Cal. Dec. 8, 2011); see also Stringer v. National Football

League, 474 F. Supp.2d 894 (S.D. Ohio 2007). Each of these decisions found that the NFL

players’ claims against the NFL or its Member Clubs relating to duties that are imposed by the

CBAs were preempted because they required interpretation of CBA terms.

       In support of this argument, the NFL Parties cited various CBA provisions relating to the

Member Clubs’ duties to provide medical care to NFL players during their playing careers. See,

e.g., Art. XLIV §1 (1993 CBA); Art. XLIV §1 (2006 CBA) (club physicians’ duty to warn

players about injuries “aggravated by continued performance”).         The NFL Parties further

highlighted other CBA provisions addressing rule-making, player safety rule provisions,

grievance procedures, player benefits, as well as provisions of the NFL Constitution. The

volume of CBA provisions and favorable court decisions on the preemption issue support the

NFL Parties’ argument that the degree of care owed to retired NFL Football players must be

considered in light of the pre-existing contractual duties imposed by the CBAs. The same

arguments apply to Plaintiffs’ claims of fraudulent concealment and negligent misrepresentation.


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       The Plaintiffs offered well-reasoned arguments to oppose the NFL Parties’ preemption

defense. In particular, Plaintiffs asserted that controlling authority in the Third Circuit, Kline v.

Security Guards, Inc., 386 F.3d 246 (3d Cir. 2004), requires the presence of a concrete

interpretive dispute over a specific CBA provision. Without an actual interpretive dispute of a

specific term, there is no § 301 preemption, even if a CBA provision may be tangentially

relevant as a factual matter. Despite the NFL Parties’ reference to myriad CBA provisions, the

Plaintiffs contended that none of the provisions gave rise to an actual dispute over the

interpretation of any provision, and that the NFL Parties’ arguments were theoretical at best.

       Plaintiffs asserted factual arguments to distinguish their claims as well. For example,

certain of the Retired NFL Football Players played their entire NFL careers during periods of

time when no CBA was in effect (meaning there could be no preemption defense against these

players). As to those Retired NFL Football Players for which a CBA was in effect during their

NFL careers, the question of whether their claims turn on the interpretation of a CBA provision

was disputed by Plaintiffs. For example, the NFL was not a signatory to a vast majority of the

CBAs supposedly at issue.

       As to Plaintiffs’ fraudulent concealment and negligent misrepresentation claims,

Plaintiffs powerfully asserted that the Third Circuit squarely held that where a plaintiff alleges

fraud stemming from statements issued outside of the CBA bargaining process, the “elements of

state law fraud” do “not depend on the [CBA].” Trans Penn Wax Corp. v. McCandless, 50 F.3d

217, 232 (3d Cir. 1995). Plaintiffs thus argued that their fraud claims turned on whether the NFL

Parties had spoken about concussions truthfully, and on how those statements affected the

decisions of the players. Since neither question demanded an investigation into the terms of the

CBAs, Plaintiffs argued that the preemption defense could be defeated.


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       Thus, the legal issue of Section 301 LMRA preemption presented a significant challenge

for both sides. The NFL Parties had strong arguments, legal authority, and facts. Plaintiffs, in

turn, presented a forceful response. After extensive briefing on the matter, the Court heard oral

argument on April 9, 2013, taking the matter under advisement. Had the Court accepted the

NFL Parties’ arguments, the Plaintiffs’ claims could have been dismissed outright, rendered

impracticable, or severely jeopardized or impaired.

               2.     Causation

       Here, the Retired NFL Football Players brought suit for injuries allegedly resulting from

head trauma they suffered during their NFL careers. Plaintiffs allege that had the NFL Parties

properly treated these head traumas and, had they provided Plaintiffs with information they

possessed concerning the risk of concussion, these players would not have suffered such

debilitating injuries or the injuries could have been minimized. In deciding whether to resolve

the Plaintiffs’ claims outside of litigation, Co-Lead Class Counsel, Class Counsel and

Subclass Counsel took into consideration the significant legal impediments surrounding the

Plaintiffs’ ability to prove causation and obtain verdicts in the absence of a settlement.

Specifically, but for the proposed Settlement, Plaintiffs would have had to demonstrate that the

actions of the NFL Parties, in allegedly concealing risks of concussion and exposing them to

head traumas on numerous occasions, was the legal cause of their injuries. Plaintiffs anticipate

that the NFL Parties would have argued that Plaintiffs could not meet their burden because it was

also possible that the injuries resulted from some other cause unrelated to football, or from head

impacts suffered playing football in middle school, high school and/or college.




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               3.      Statutes of Limitation

       In the NFL Parties’ motions to dismiss on preemption grounds, discussed above, the NFL

Parties reserved the right to assert statute of limitations defenses in future motions to dismiss.

“‘Challenges based on the statute of limitations . . . have usually been rejected and will not bar

predominance satisfaction because those issues go to the right of a class member to recover, in

contrast to underlying common issues of the defendant’s liability.’” In re Linerboard Antitrust

Litig., 305 F.3d 145, 163 (3d Cir. 2002) (quoting NEWBERG ON CLASS ACTIONS § 4.26 (3d ed.)).

Nevertheless, a significant potential risk for Plaintiffs and Settlement Class Members moving

forward with this litigation is that the NFL Parties could invoke a statute of limitations defense.

See Phillips Decl. at ¶15. Many of the Retired NFL Football Players have not played for years,

or even decades. Certain Settlement Class Members’ brain injuries and symptoms have been

present for several years or even decades. This scenario presents a serious challenge as the NFL

Parties could argue that as a result of the timing of certain Plaintiffs’ injuries, their claims are

outside the applicable statute of limitations.

       In cases where the causal connection between a plaintiff’s injury and another’s conduct is

not apparent, many states have adopted a “discovery rule” that delays the accrual of a plaintiff’s

claim until the plaintiff discovers or reasonably should have discovered that they suffered an

injury and that the injury was caused by the defendant. See, e.g., Pedersen v. Zielski, 822 P.2d

903, 906 (Alaska 1991) (stating that statute does not begin to run under discovery rule until

claimant discovers, or reasonably should have discovered, existence of elements essential to his

cause of action);    Anson v. Am. Motors Corp., 747 P.2d 581, 584 (Ariz. Ct. App. 1987)




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(recognizing that cause of action does not accrue until plaintiff discovers or should have

discovered that he had been injured by defendant’s conduct).22

         However, several states have declined to adopt a “discovery rule,” holding that a

plaintiff’s claim accrues upon the date of the injury. See, e.g., Utilities Bd. of Opp v. Shuler

Bros., Inc., No. 1111558, 2013 WL 3154011, at *4 (Ala. June 21, 2013) (stating that there is no

discovery rule for negligence claims); Chalmers v. Toyota Motor Sales, 935 S.W.2d 258, 261

(Ark. 1996) (stating that there is no discovery rule for personal injury cases); Johnston v. Dow &

Coulombe, Inc., 686 A.2d 1064, 1066 (Me. 1996) (discovery rule is limited to claims for legal

malpractice, medical malpractice, and asbestosis).23

         As noted above, many of the players have been retired from NFL Football for many years

or even decades. Therefore, the repetitive, traumatic sub-concussive and/or concussive head

impacts which occurred while participating in games and practice happened a long time ago.

Thus, in states that have not adopted a discovery rule, the NFL Parties could argue that each

player’s cause of action accrued at the time of the initial impact that caused the players to suffer

22
    See, e.g., Fox v. Ethicon Endo-Surgery, Inc., 110 P.3d 914, 920 (Cal. 2005) (stating that discovery rule
postpones accrual of cause of action until plaintiff discovers, or has reason to discover, cause of action); CONN. GEN.
STAT. § 52-584 (statute of limitations begins to run from date when injury is first sustained or discovered or in
exercise of reasonable care should have been discovered); IDAHO CODE ANN. § 5-219(4) (when fact of damage has
been fraudulently and knowingly concealed, a cause of action accrues when injured party knows or in exercise of
reasonable care should have been put on inquiry of condition); Bowen v. Eli Lilly & Co., Inc., 557 N.E.2d 739, 741
(Mass. 1990) (stating that under discovery rule, cause of action accrues when event or events have occurred that
were reasonably likely to put plaintiff on notice that someone may have caused his injury).
23
     See also Herrmann v. McMenomy v. Severson, 590 N.W.2d 641, 643 (Minn. 1999) (statute of limitations is not
tolled by ignorance of cause of action); Carr v. Anding, 793 S.W.2d 148, 150 (Mo. Ct. App. 1990) (recognizing that
Missouri has rejected discovery rule and statute of limitations runs when fact of damage is capable of ascertainment,
although not actually discovered); Dreyer-Lefevre v. Morissette, No. 56653, 2011 WL 2623955, at *2 (Nev. July 1,
2011) (discovery rule does not apply to cause of action for injuries to person caused by wrongful act or neglect of
another); N.Y.C.P.L.R. § 2-14 (discovery rule is limited to toxic tort and foreign object causes of action); Koenig v.
Lambert, 527 N.W.2d 903, 905 (S.D. 1995) (recognizing that legislature has acknowledged and rejected discovery
rule), overruled on other grounds, 567 N.W.2d 220 (S.D. 1997); VA.. CODE ANN. § 8.01-230 (“the right of action
shall be deemed to accrue and the prescribed limitation period shall begin from the date the injury is sustained in the
case of injury to the person”).


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a traumatic brain injury. Accordingly, Plaintiffs’ claims would likely be subject to the defense

that each player who suffered his initial head impact outside the applicable statute of limitations

does not have timely claims and should be dismissed.

       Further, in each of the states that has adopted a discovery rule, the NFL Parties could

argue that Plaintiffs’ causes of action are untimely when applying the applicable discovery rule.

The NFL Parties could assert that certain Plaintiffs have been aware of their injuries for years

and believed that NFL Football caused their injuries. Moreover, the NFL Parties may argue that

the public records put Plaintiffs on notice of their potential claims years ago, such that certain

Plaintiffs failed to file their claims in a timely manner.

       Based on the foregoing, the statute of limitations defenses available to the NFL Parties

pose a significant risk to the claims of many of the Plaintiffs and Settlement Class Members.

This proposed Settlement appropriately factors in, and avoids, the significant risks presented by

the NFL Parties’ statute of limitation defenses.

               4.      Assumption of Risk

       As the NFL has done in other litigation, the NFL Parties are expected to raise the defense

that Plaintiffs had assumed the risks of the cognitive injuries they developed. See Phillips Decl.

at ¶15. It is well known that football poses serious injury risks as countless individuals (at all

levels of the sport) incur personal injuries every year while playing the sport. It is also well

known that countless individuals suffer serious head trauma, including concussions, while

playing football. Therefore, it would not be unexpected that the NFL Parties would present a

strong assumption of risk argument in opposing the Plaintiffs’ claims.

       Under the doctrine of assumption of risk, one who voluntarily participates in an activity,

such as tackle football, consents to those commonly appreciated risks that are inherent in and


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arise out of the nature of the activity generally and flow from such participation.                                See

Alqurashi v. Party of Four, Inc., 89 A.D.3d 1047, 1047 (N.Y. App. Div. 2d Dept. 2011) (“The

doctrine of primary assumption of risk provides that a voluntary participant in a sporting or

recreational activity consents to those commonly appreciated risks which are inherent in and

arise out of the nature of the sport generally and flow from such participation”) (citations and

internal quotations omitted).24

         Therefore, in light of the great risk of physical injury that is inherent in football, the

doctrine of assumption of risk poses a significant challenge to Plaintiffs’ claims going forward.

Indeed, the doctrine has been recognized or applied in numerous cases involving football players

who were injured while playing the sport. See, e.g., Brown v. National Football League, 219 F.

Supp. 2d 372, 389 (S.D.N.Y. 2002) (noting that state law claims by NFL player for injuries

incurred while playing professional football” will “implicate . . . ordinary concepts of negligence

and assumption of risk”); Glazier v. Keuka Coll., 275 A.D.2d 1039 (N.Y. App. Div. 2000)

(plaintiffs assumed risk of injuries, as matter of law, by engaging in tackle football game

between two residence halls); Hunt v. Skaneateles Cent. Sch. Dist., 227 A.D.2d 939 (N.Y. App.

Div. 1996) (high school student assumed risk of football related injury); Benitez v. New York

City Bd. of Educ., 73 N.Y.2d 650 (1989) (same); Fortier v. Los Rios Cmty. Coll. Dist., 52 Cal.

Rptr. 2d 812 (Cal. App. 4th 1996) (doctrine of assumption of risk precluded collegiate football
24
     See also Savino v. Robertson, 652 N.E.2d 1240, 1244 (Ill. App. 1995) (enactment of Illinois’ modified
comparative fault statute has no effect on express assumption of risk, where plaintiff expressly assumes dangers and
risks created by activity or defendant’s negligence, or on primary implied assumption of risk, where plaintiff
knowingly and voluntarily assumes risks inherent in particular situation or defendant’s negligence); Coomer v.
Kansas City Royals Baseball Corp., Nos. WD 73984, WD 74040, 2013 WL 150838, at *3 (Mo. Ct. App. Jan. 15,
2013) (“Primary implied assumption of risk operates to negate the negligence element of duty . . . [t]he plaintiff’s
voluntary participation in the activity serves as consent to the known, inherent, risks of the activity and relieves the
defendant of the duty to protect the plaintiff from those harms.”) (internal citations omitted); Fortier v. Los Rios
Cmty. Coll. Dist., 52 Cal. Rptr. 2d 812 (Cal. App. 4th 1996) (applying doctrine of assumption of risk to preclude
football player’s claims for personal injuries).


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player from recovering from community college for personal injuries sustained during football

practice); cf. Hackbart v. Cincinnati Bengals, Inc., 601 F.2d 516, 520 (10th Cir. 1979) (noting

that theory of negligence would not support holding NFL team liable, “since subjecting another

to unreasonable risk of harm, the essence of negligence, is inherent in the game of football, for

admittedly it is violent,” and drawing distinction that where football player is subject to

intentional conduct that results in infliction of injuries in reckless disregard of his rights, only

then may NFL team be liable for such intentional conduct, since it is “highly questionable

whether a professional football player consents or submits to injuries caused by conduct not

within the rules”).

         Even in those states that do not recognize assumption of risk as a defense, such states will

nevertheless consider concepts such as contributory negligence or comparative fault to limit any

recovery by a plaintiff, where that plaintiff is deemed to have engaged in a dangerous activity

that contributed to his or her injuries.25 See generally Brown, 219 F. Supp. 2d at 384 n.5 (noting

that “implied assumption of risk is no longer a complete defense, but is subsumed under




25
     See, e.g., ARIZ. REV. STAT. ANN. § 12-2505 (contributory negligence is defense in Arizona); Valley Elec., Inc. v.
Doughty, 528 P.2d 927, 928 (Colo. Ct. App. 1974) (contributory negligence is defense where plaintiff engaged in
dangerous activity); Allen v. Kamp’s Beauty Salon, Inc., 177 So. 2d 678, 679 (Fla. Dist. Ct. App. 1965)
(contributory negligence is defense in Florida); Garrett v. NationsBank, N.A. (S.), 491 S.E.2d 158 (Ga. App. 1997)
(contributory negligence is defense in Georgia); Funston v. Sch. Town of Munster, 849 N.E.2d 595 (Ind. 2006)
(contributory negligence is defense in Indiana); Smith v. McGittigan, 376 So. 2d 598 (La. Ct. App. 1979)
(contributory negligence is defense in Louisiana); Collins v. Nat’l R.R. Passenger Corp., 9 A.3d 56 (Md. 2010)
(contributory negligence is defense in Maryland); MASS. GEN. LAWS ANN. ch. 231, § 85 (contributory negligence is
defense in Massachusetts); MICH. COMP. LAWS ANN. § 600.2959 (comparative fault is defense in Michigan); MINN.
STAT. ANN. § 604.01 (comparative fault is defense in Minnesota); Stallings v. Food Lion, Inc., 539 S.E.2d 331
(N.C. App. 2000) (contributory negligence is defense under North Carolina law); OHIO REV. CODE § 2315.19(B)(4)
(comparative fault is defense under Ohio law); 42 PA. CONS. STAT. ANN. § 7102 (comparative negligence is defense
in Pennsylvania); McIntyre v. Balentine, 833 S.W.2d 52 (Tenn. 1992) (comparative fault is defense in Tennessee);
TEX. CIV. PRAC. & REM. CODE ANN. § 33.001 (comparative fault is defense in Texas); WASH. REV. CODE ANN.
§ 4.22.005 (West) (contributory fault is defense in Washington).


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New York’s comparative fault statute”); see also Britenriker v. Mock, No. 3:08 CV 1890, 2009

WL 2392917, at *5 (N.D. Ohio July 31, 2009) (same; applying Ohio law).

       Therefore, based on the well-known risks of injury associated with football, to proceed

with this litigation would expose Plaintiffs to significant risks and challenges based on the

defenses of assumption of risk, contributory negligence, and comparative fault.

              5.      Other Defenses

       The NFL Parties also may assert a statutory employer defense in this litigation. Pursuant

to this defense, a general contractor (or other similarly situated employer) can be held immune

from suit, with the applicable Workers’ Compensation Act providing the exclusive remedy to an

injured employee of a subcontractor. See Fulgham v. Daniels J. Keating Co., 285 F. Supp. 2d

525, 537 (D.N.J. 2003) (once employer qualifies as statutory employer under Pennsylvania

Workers’ Compensation Act, it is immune from suit even if injured worker’s immediate

employer provides benefits; statutory employer retains its common law immunity in exchange

for its secondary liability under Workers’ Compensation Act).

       In Pennsylvania, to create the relation of statutory employer under section 203 of the act

(77 PA. CONS. STAT. ANN. § 52), all of the following elements essential to a statutory employer’s

liability must be present: (1) an employer who is under contract with an owner or one in the

position of an owner; (2) premises occupied by or under the control of such employer; (3) a

subcontract made by such employer; (4) part of the employer’s regular business is entrusted to

such subcontractor; and (5) an employee of such subcontractor. Rolick v. Collins Pine Co., 925

F.2d 661, 663 (3d Cir. 1991) (citing McDonald v. Levinson Steel Co., 302 Pa. 287 (1930)); see

also Al-Ameen v. Atlantic Roofing Corp., 151 F. Supp. 2d 604, 606 (E.D. Pa. 2001) (citing

McDonald test).


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        The statutory employer defense is widely recognized as precluding injured employees of

subcontractors from recovering damages from general contractors.26                       In such cases, courts

recognize that the injured employee’s claims are in the nature of Workers’ Compensation claims,

and that both the subcontractor and general contractor should be immunized from common law

liability.

        Thus, one may expect the NFL Parties to pursue the statutory employer defense in this

case. The NFL Parties may argue they are similarly situated to a general contractor with respect

to the injured players, and the injured players are akin to the employees of subcontractors.

Therefore, if this litigation goes forward in the absence of a settlement agreement, the NFL

Parties may argue that they are immune from suit as the statutory employers of the injured

Retired NFL Football Players.

        D.       The Proposed Form and Method of Class Notice Satisfy Due Process

        Under Rule 23(e)(1) of the Federal Rules of Civil Procedure, when approving a class

action settlement, the district court “must direct notice in a reasonable manner to all class

members who would be bound by the proposal.” FED. R. CIV. P. 23(e)(1). In addition, for

classes certified under Rule 23(b)(3), courts must ensure that class members receive “the best

notice that is practicable under the circumstances, including individual notice to all members




26
     See, e.g., Young v. Envtl. Air Products, Inc., 665 P.2d 40, 45-46 (Ariz. 1983) (Arizona recognizes the statutory
employer defense); Zamudio v. City &Cnty. of San Francisco, 82 Cal. Rptr. 2d 664 (Cal. App. 1999) (California
recognizes statutory employer defense); Finlay v. Storage Tech. Corp., 764 P.2d 62 (Colo. 1988) (Colorado
recognizes statutory employer defense); Entergy Gulf States, Inc. v. Summers, 282 S.W.3d 433 (Tex. 2009) (Texas
recognizes statutory employer defense); Roberts v. City of Alexandria, 246 Va. 17, 19 (1993) (Virginia recognizes
statutory employer defense); Manor v. Nestle Food Co., 932 P.2d 628, 632 (Wash. 1997) amended, 945 P.2d 1119
(Wash. 1997) and disapproved of on other grounds by Washington Indep. Tel. Ass’n v. Washington Utilities &
Transp. Comm’n, 64 P.3d 606 (Wash. 2003) (Washington recognizes statutory employer defense).


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who can be identified through reasonable effort.” FED. R. CIV. P. 23(c)(2)(B); see Amchem, 521

U.S. at 617; Eisen v. Carlisle & Jacqueline, 417 U.S. 156, 173 (1974).

       Due process requires that notice be “reasonably calculated, under all the circumstances,

to apprise interested parties of the pendency of the action and afford them an opportunity to

present their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314

(1950); DeJulius v. New England Health Care Emps. Pension Fund, 429 F.3d 935, 944 (10th

Cir. 2005). Rule 23(c)(2)(B) provides that the “notice must clearly and concisely state in plain,

easily understood language: (i) the nature of the action; (ii) the definition of the class certified;

(iii) the class claims, issues, or defenses; (iv) that a class member may enter an appearance

through an attorney if the member so desires; (v) that the court will exclude from the class any

member who requests exclusion; (vi) the time and manner for requesting exclusion; and (vii) the

binding effect of a class judgment on members under Rule 23(c)(3).”               FED. R. CIV. P.

23(c)(2)(B).

       The form and content of the proposed Long-form notice (the “Notice”) and the short-

form notice (“Summary Notice”) satisfy all these legal parameters. See Exhibits 3 and 5 at

Notice Plan, appended to the Kinsella Declaration (Exhibit C to this Motion). Each form of

notice is written in plain and straightforward language consistent with Rules 23(c)(2)(B) and

23(e)(1). The Notice objectively and neutrally apprises all Settlement Class Members of the

nature of the action; the definition of the Settlement Class sought to be certified for purposes of

the Settlement; the Settlement Class claims and issues; that Settlement Class Members may

enter an appearance through an attorney before the Court at the Fairness Hearing (in accordance

with the procedures set forth in the Notice); that the Court will exclude from the Settlement

Class anyone who elects to opt out of the Settlement (and sets forth the procedures and deadlines


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for doing so); and the binding effect of a class judgment on Settlement Class Members under

Rule 23(c)(3)(B). The Notice additionally discloses the date, time, and location of the Fairness

Hearing, and the procedures and deadlines for the submission of objections to any aspect of the

Settlement. These disclosures are complete and should be approved by the Court. See In re

Certainteed Corp. Roofing Shingle Prods. Liab. Litig., 269 F.R.D. 468, 482-83 (E.D. Pa. 2010);

In re Ikon Office Solutions, Inc. Sec. Litig., 194 F.R.D. 166, 175 (E.D. Pa. 2000).

       To deliver the best notice practicable to Settlement Class Members, Co-Lead Class

Counsel, together with their notice agent, Katherine Kinsella, President of Kinsella Media LLC,

have developed a comprehensive and innovative Notice Plan that far exceeds the requirements of

Rule 23 and due process. As described earlier, the notice plan supplements traditional methods

of direct and publication notice with an ambitious outreach strategy designed to find missing

Settlement Class Members who are Retired NFL Football Players. See Kinsella Declaration,

¶30. The direct notice will be accomplished by mailing the Long-form notice to each known

Settlement Class Member. The Settlement Class Members’ addresses will be extracted from the

following data sets: current Bert Bell/Pete Rozelle NFL Player Retirement Plan pension list;

Retired NFL Football Player address data collected and used in the Dryer case; a list of NFL

players active through 2010 compiled by STATS; a list of former World League of American

Football, NFL Europe, and NFL Europa players; and a list of former AFL players. Unlike many

class actions, this direct mailed notice will provide for actual individual notice to a great many

Settlement Class Members.

       Further, the Social Security Death Index will be used to identify additional deceased

Retired NFL Football Players, the LexisNexis Relative Search will be used to find a nearest

relative or last person to live with the deceased player, and the National Change of Address


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Database will be used to get the most recent addresses. In addition, publication notice will be

accomplished through full-page color advertisements in consumer magazines, thirty-second radio

and television advertisements, and internet advertisements. See Kinsella Declaration, ¶¶19-23.

These direct notice and publication notice strategies, alone, satisfy the requirements of Rule 23

and due process. See Zimmer Paper Prods., Inc. v. Berger & Montague, P.C., 758 F.2d 86, 90

(3d Cir. 1985) (“It is well settled that in the usual situation first-class mail and publication in the

press fully satisfy the notice requirements of both FED. R. CIV. P. 23 and the due process

clause.”); In re Certainteed Corp. Roofing Shingle Prods. Liab. Litig., 269 F.R.D. at 482-83

(finding that direct mailing and advertisements on television and internet satisfied requirements

of Rule 23 and due process); Grunewald v. Kasperbauer, 235 F.R.D. 599, 609 (E.D. Pa. 2006)

(same for direct mailing and advertisements in three newspapers and internet); In re Prudential

Sec. Inc. Ltd. P’ships Litig., 163 F.R.D. 200, 210-11 (S.D.N.Y. 1995) (finding that notice by first

class mail is the best notice practicable, and publication in a major newspaper “will have the

broadest reach to inform those members of the Class who, for some reason, may not receive the

mailed Notice”); Trist v. First Federal Savings & Loan Assoc. of Chester, 89 F.R.D. 1, 2 (E.D.

Pa. 1980) (notice that failed to reach one-eighth of class was sufficient). Similar levels of

penetration have been deemed adequate under Rule 23 and the Due Process clause. See In re

Heartland Payment Systems, Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d 1040, 1061

(S.D. Tex. 2012) (notice plan that expert estimated would reach 81.4% of class was sufficient);

Alberton v. Commonwealth Land Title Ins. Co., No. 06-3755, 2008 WL 1849774, at *3 (E.D. Pa.

Apr. 25, 2008) (direct notice projected to reach 70% of class plus publication in newspapers and

internet was sufficient);    Grunewald, 235 F.R.D. at 609 (direct mail to 55% of class and

publication in three newspapers and internet was sufficient); In re Lupron Marketing and Sales


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Practices Litig., 228 F.R.D. 75, 96 (D. Mass. 2005) (notice plan that experts predicted would

expose 80% of class to notice was sufficient). Plaintiffs’ Notice experts estimate that the Notice

Plan, as a whole, will reach approximately 90% of the Settlement Class Members. See Kinsella

Declaration, ¶36.

       In addition, the proposed Notice Plan provides that the Class Members will have more

than 90 days from the commencement of the Class Notice period until the deadline for opting

out. It is well-settled that 30 to 60 days notice is sufficient to allow class members to make their

decisions to accept the settlement, object or exclude themselves. See, e.g., In re Prudential Ins.

Co. of Am. Sales Practices Litig., 962 F. Supp. 450, 562 (D.N.J. 1997) (citing cases). Thus, the

amount of time allotted in this case is clearly sufficient. Because the proposed notice plan easily

fulfills the requirements of Rule 23 and the due process, it should be approved by the Court.

       E.      The Court Should Stay This Action and Enjoin Related Lawsuits By
               Settlement Class Members

       Along with staying the instant litigation and all other Related Lawsuits against the NFL

Parties (and other Released Parties), the Court should enjoin all Settlement Class Members,

unless and until they have been excluded from the Settlement Class by action of the Court, or

until the Court denies approval of the Class Action Settlement, or until the Settlement Agreement

is otherwise terminated, from filing, commencing, prosecuting, continuing to prosecute,

supporting, intervening in, or participating as plaintiffs, claimants, or class members in any other

lawsuit or administrative, regulatory, arbitration, or other proceeding in any jurisdiction based

on, relating to, or arising out of the claims and causes of action, or the facts and circumstances at

issue, in the Class Action Complaint, Related Lawsuits and/or the Released Claims. No such

injunction would apply to the Riddell Defendants. Such “injunctive relief is commonly granted



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in preliminary approvals of class-action settlements pursuant to the All Writs Act and the Anti-

Injunction Act.” In re Uponor, Inc., No. 11-MD-2247, 2012 U.S. Dist. LEXIS 5339, 23-34 (D.

Minn. Jan. 18, 2012); see also In re Prudential Ins. Co. of Am. Sales Practices Litig., 261 F.3d

355, 360-61 (3d Cir. 2001) (upholding order enjoining all class members from “filing,

commencing, prosecuting, continuing, litigating, intervening in or participating as class members

in, any lawsuit in any jurisdiction based on or related to the facts and circumstances underlying

the claims and causes of action in this lawsuit, unless and until such [class member] has timely

excluded herself or himself from the Class.”); Hanlon v. Chrysler Corp., 150 F.3d 1011, 1018,

1025 (9th Cir. 1997) (upholding preliminary class settlement approval order enjoining

duplicative state actions).

       The All Writs Act authorizes courts to “issue all writs necessary or appropriate in aid of

their respective jurisdictions and agreeable to the usages and principles of law.” 28 U.S.C. §

1651(a). While the Anti-Injunction Act limits a federal court’s powers under the All Writs Act,

it expressly authorizes a federal court to enjoin parallel state court proceedings—including

indirectly, by enjoining the parties to state court proceedings—“where necessary in aid of its

jurisdiction, or to protect or effectuate its judgments.” 28 U.S.C. § 2283; see also In re Diet

Drugs Prods. Liab. Litig., 282 F.3d 220, 233 (3d Cir. 2002) (“An order directed at the parties and

their representatives, but not at the court itself, does not remove it from the scope of the Anti-

Injunction Act.”).    See Winkler v. Eli Lilly & Co., 101 F.3d 1196, 1202 (7th Cir. 1996);

Carlough v. Amchem Prods., Inc., 10 F.3d 189, 202–04 (3d Cir. 1993); Battle v. Liberty Nat’l

Life Ins. Co., 877 F.2d 877, 882 (11th Cir. 1989); In re Corrugated Container Antitrust Litig.,

659 F.2d 1332, 1334–35 (5th Cir. 1981). See also In re Chinese-Manufactured Drywall Prod.

Liability Litig., No. 10-361, 2011 WL 2313866, at *6-7 (E.D. La. June 9, 2011) (staying actions


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pending in Louisiana state court pursuant to authority under the All Writs Act and the Anti–

Injunction Act’s necessary in aid of jurisdiction exception); Kaufman v. American Exp. Travel

Related Services Co., Inc., 264 F.R.D. 438 (N.D. Ill. 2009) (enjoining proceedings in several

related litigations, including one in California state court); see also In re Diet Drugs, 282 F.3d at

228, 242 (affirming district court order nullifying state court order).

       Here, issuance of this injunction is necessary and appropriate in aid of the Court’s

jurisdiction because, as recognized by the Third Circuit, “[t]he threat to the federal court’s

jurisdiction posed by parallel state actions is particularly significant where there are conditional

class certifications and impending settlements in federal action.” Diet Drugs, 282 F.3d at 236

(citations omitted)(“In complex cases where certification or settlement has received conditional

approval … the challenges facing the overseeing court are such that it is likely that almost any

parallel litigation in other fora presents a genuine threat to the jurisdiction of the federal court.”);

In re Prudential Ins. Co. of Am. Sales Practices Litig., 314 F.3d 99, 104 (3d Cir. 2002)

(“[D]istrict courts overseeing complex federal litigation are especially susceptible to disruption

by related actions in state fora.”). Indeed, the “success of any federal settlement [is] dependent

on the parties’ ability to agree to the release of any and all related civil claims[.]” In re Baldwin-

United Corp., 770 F.2d 328, 337 (2d Cir. 1985). Parallel state actions threaten this interest by

undermining “the finality of any federal settlement.” Id.

       That is precisely the case here. This is a complex, multi-district litigation involving over

300 consolidated actions and over 5,000 plaintiffs (and with the proposed class, involves

thousands more), multiple rounds of motion practice, and oral argument. The Settling Parties

have engaged in hard-fought, difficult negotiations and reached a comprehensive, global

settlement. Yet the NFL Parties and other Released Parties could remain exposed to “countless


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suits in state court despite settlement of the federal claims” that might “seriously undermine the

possibility for settling any large, multi-district class action” and throw into doubt the finality of

the releases the NFL Parties bargained for, and the validity of the entire agreement.            See

Prudential Ins., 314 F.3d at 104-105 (citations omitted). In addition, an injunction will permit

Settlement Class Members to review the notice materials discussing the terms of the proposed

nationwide settlement and to assess their rights and options without the distraction and confusion

that would be occasioned by competing actions.

V.       CONCLUSION

         For the reasons set forth above, the Court should grant Plaintiffs’ motion.


Dated:      June 25, 2014                              Respectfully submitted,




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